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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

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 In re:                                             Case No. 08-14631

 Shapes/Arch Holdings L.L.C.,                       Judge: Gloria M. Burns
 Shapes L.L.C., Delair L.L.C., Accu-Weld
 L.L.C., and Ultra L.L.C.                           Chapter: 11


                    JOINT DISCLOSURE STATEMENT FOR THE
            DEBTORS’ FIRST AMENDED JOINT PLAN OF REORGANIZATION

      PLEASE READ THIS DISCLOSURE STATEMENT CAREFULLY. THIS
 DISCLOSURE STATEMENT CONTAINS INFORMATION THAT MAY BEAR UPON
 YOUR DECISION TO ACCEPT OR REJECT THE DEBTORS’ PLAN OF
 REORGANIZATION, WHICH THE DEBTORS FILED ON THE PETITION DATE.
 DEBTORS BELIEVE THAT THEIR PLAN OF REORGANIZATION IS IN THE BEST
 INTERESTS OF CREDITORS AND THAT THE PLAN IS FAIR AND EQUITABLE.
 DEBTORS URGE THAT THE VOTER ACCEPT THE PLAN.



 April 24, 2008




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 ALL CREDITORS AND INTEREST HOLDERS ARE ADVISED AND ENCOURAGED TO
 READ THIS DISCLOSURE STATEMENT AND THE PLAN IN THEIR ENTIRETY BEFORE
 VOTING TO ACCEPT OR REJECT THE PLAN. BECAUSE ACCEPTANCE OF THE PLAN
 WILL CONSTITUTE ACCEPTANCE OF ALL THE PROVISIONS THEREOF, HOLDERS
 OF IMPAIRED CLAIMS OR INTERESTS ENTITLED TO VOTE ARE URGED TO
 CONSIDER CAREFULLY THE INFORMATION REGARDING TREATMENT OF THEIR
 CLAIMS OR INTERESTS CONTAINED IN THIS DISCLOSURE STATEMENT.

 IN DETERMINING WHETHER TO VOTE TO ACCEPT THE PLAN, HOLDERS OF
 IMPAIRED CLAIMS OR INTERESTS ENTITLED TO VOTE MUST RELY UPON THEIR
 OWN EXAMINATION OF THE DEBTORS AND THE TERMS OF THE PLAN,
 INCLUDING THE MERITS AND RISKS INVOLVED. THE CONTENTS OF THIS
 DISCLOSURE STATEMENT SHOULD NOT BE CONSTRUED AS PROVIDING ANY
 LEGAL, BUSINESS, FINANCIAL, OR TAX ADVICE. EACH SUCH HOLDER SHOULD
 CONSULT WITH ITS OWN LEGAL, BUSINESS, FINANCIAL, AND TAX ADVISORS
 WITH RESPECT TO ANY SUCH MATTERS CONCERNING THIS DISCLOSURE
 STATEMENT, THE SOLICITATION, THE PLAN, AND THE TRANSACTIONS
 CONTEMPLATED THEREBY.

 PLAN SUMMARIES AND STATEMENTS MADE IN THIS DISCLOSURE STATEMENT,
 INCLUDING THE FOLLOWING SUMMARY, ARE QUALIFIED IN THEIR ENTIRETY BY
 REFERENCE TO THE PLAN, OTHER EXHIBITS ANNEXED TO THE PLAN, THE PLAN
 SUPPLEMENT, AND THIS DISCLOSURE STATEMENT.         THE STATEMENTS
 CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE DATE
 HEREOF UNLESS OTHERWISE SPECIFIED, AND THERE CAN BE NO ASSURANCE
 THAT THE STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT ANY TIME
 AFTER SUCH DATE. ALL CREDITORS AND INTERESTS HOLDERS SHOULD READ
 CAREFULLY THE “RISK FACTORS” SECTION HEREOF BEFORE VOTING FOR OR
 AGAINST THE PLAN. SEE “CERTAIN RISK FACTORS TO BE CONSIDERED,” Article
 VIII.

 THIS DISCLOSURE STATEMENT HAS BEEN PREPARED BY THE DEBTORS IN
 ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016
 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND NOT NECESSARILY
 IN ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER
 APPLICABLE LAW.    THIS DISCLOSURE STATEMENT HAS BEEN NEITHER
 APPROVED NOR DISAPPROVED BY THE SECURITIES AND EXCHANGE
 COMMISSION (THE “SEC”) NOR HAS THE SEC PASSED UPON THE ACCURACY OR
 ADEQUACY OF THE STATEMENTS CONTAINED HEREIN.

 CERTAIN STATEMENTS CONTAINED HEREIN, INCLUDING PROJECTED FINANCIAL
 INFORMATION AND OTHER FORWARD-LOOKING STATEMENTS, ARE BASED ON
 ESTIMATES AND ASSUMPTIONS. THERE CAN BE NO ASSURANCE THAT SUCH
 STATEMENTS WILL REFLECT ACTUAL OUTCOMES.

 THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED
 SOLELY FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLAN. NOTHING


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 IN THIS DISCLOSURE STATEMENT MAY BE USED BY ANY ENTITY FOR ANY
 OTHER PURPOSE.     THE FACTUAL INFORMATION CONTAINED IN THIS
 DISCLOSURE STATEMENT, INCLUDING THE DESCRIPTION OF THE DEBTORS, ITS
 BUSINESS, AND EVENTS LEADING TO THE COMMENCEMENT OF THE CASE, HAS
 BEEN PREPARED AND OBTAINED BY THE DEBTORS AND ITS PROFESSIONALS
 FROM VARIOUS DOCUMENTS, AGREEMENTS, AND OTHER WRITINGS RELATING
 TO THE DEBTORS. NEITHER THE DEBTORS NOR ANY OTHER PARTY MAKES ANY
 REPRESENTATION OR WARRANTY REGARDING SUCH INFORMATION.

 THE TERMS OF THE PLAN GOVERN IN THE EVENT OF ANY INCONSISTENCY WITH
 THE SUMMARIES IN THIS DISCLOSURE STATEMENT. ALL EXHIBITS TO THE
 DISCLOSURE STATEMENT ARE INCORPORATED INTO AND ARE A PART OF THIS
 DISCLOSURE STATEMENT AS IF SET FORTH IN FULL HEREIN.

 AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND OTHER PENDING
 OR THREATENED LITIGATION OR ACTIONS, THIS DISCLOSURE STATEMENT
 SHALL NOT CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR
 LIABILITY, STIPULATION, OR WAIVER, OR OTHERWISE HAVE ANY PRECLUSIVE
 EFFECT, BUT RATHER SHALL CONSTITUTE AND BE CONSTRUED AS A
 STATEMENT MADE WITHOUT PREJUDICE SOLELY FOR SETTLEMENT PURPOSES,
 WITH FULL RESERVATION OF RIGHTS, AND IS NOT TO BE USED FOR ANY
 LITIGATION PURPOSE WHATSOEVER. AS SUCH, THIS DISCLOSURE STATEMENT
 SHALL NOT BE ADMISSIBLE IN ANY NONBANKRUPTCY PROCEEDING,
 ADVERSARY PROCEEDING OR OTHER ACTION INVOLVING THE DEBTORS OR ANY
 OTHER PARTY IN INTEREST, NOR SHALL IT BE CONSTRUED TO BE CONCLUSIVE
 ADVICE ON THE TAX, SECURITIES, FINANCIAL OR OTHER EFFECTS OF THE PLAN
 AS TO HOLDERS OF CLAIMS AGAINST OR INTERESTS IN THE DEBTORS.

 THE CONFIRMATION AND EFFECTIVENESS OF THE PLAN ARE SUBJECT TO
 MATERIAL CONDITIONS PRECEDENT. SEE SECTION VII. THERE CAN BE NO
 ASSURANCE THAT THOSE CONDITIONS WILL BE SATISFIED.

 THE FINANCIAL PROJECTIONS ATTACHED HERETO WERE PREPARED BY THE
 DEBTORS WITH THE ASSISTANCE OF ITS RESTRUCTURING ADVISOR BASED ON
 INFORMATION AVAILABLE TO THE DEBTORS AND NUMEROUS ASSUMPTIONS
 THAT ARE AN INTEGRAL PART OF THE FINANCIAL PROJECTIONS, MANY OF
 WHICH ARE BEYOND THE CONTROL OF THE DEBTORS AND SOME OR ALL OF
 WHICH MAY NOT MATERIALIZE. THE FINANCIAL PROJECTIONS WERE NOT
 PREPARED WITH A VIEW TOWARD COMPLIANCE WITH THE GUIDELINES
 ESTABLISHED BY THE AMERICAN INSTITUTE OF CERTIFIED PUBLIC
 ACCOUNTANTS OR THE RULES AND REGULATIONS OF THE SECURITIES AND
 EXCHANGE     COMMISSION    REGARDING      FINANCIAL     PROJECTIONS.
 FURTHERMORE, THE FINANCIAL PROJECTIONS HAVE NOT BEEN AUDITED BY
 THE DEBTORS’ INDEPENDENT CERTIFIED ACCOUNTANTS.           ALTHOUGH
 PRESENTED WITH NUMERICAL SPECIFICITY, THE FINANCIAL PROJECTIONS ARE
 BASED UPON A VARIETY OF ASSUMPTIONS, SOME OF WHICH HAVE NOT BEEN
 ACHIEVED TO DATE AND MAY NOT BE REALIZED IN THE FUTURE, AND ARE

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 SUBJECT TO SIGNIFICANT BUSINESS, LITIGATION, ECONOMIC, AND COMPETITIVE
 UNCERTAINTIES AND CONTINGENCIES, MANY, IF NOT ALL, OF WHICH ARE
 BEYOND THE CONTROL OF THE DEBTORS. CONSEQUENTLY, THE FINANCIAL
 PROJECTIONS SHOULD NOT BE REGARDED AS A REPRESENTATION OR
 WARRANTY BY THE DEBTORS OR ANY OTHER PERSON, THAT THE FINANCIAL
 PROJECTIONS WILL BE REALIZED. ACTUAL RESULTS MAY VARY MATERIALLY
 FROM THOSE PRESENTED IN THE FINANCIAL PROJECTIONS.

                             I.    INTRODUCTION AND SUMMARY

         Shapes/Arch Holdings L.L.C., Shapes L.L.C., Delair L.L.C., Accu-Weld L.L.C., and
 Ultra L.L.C., the above-captioned Debtors (the “Debtors”), submits this disclosure statement (the
 “Disclosure Statement”), pursuant to section 1125 of title 11 of the United States Code (the
 “Bankruptcy Code”), to holders of Claims against and Interests in the Debtors in connection with
 (i) the solicitation of acceptances of the Debtors’ First Amended Joint Plan of Reorganization
 dated April 24, 2008 [Docket No. ___], as such plan may be amended (the “Plan”), filed by the
 Debtors with the United States Bankruptcy Court for the District of New Jersey (Camden
 Vicinage) (the “Bankruptcy Court”), and (ii) the Confirmation Hearing scheduled for
 ____________, 2008 at 10:00 a.m. (ET). Unless otherwise defined herein, all capitalized terms
 contained herein have the meanings ascribed to them in the Plan.

         The following introduction and summary is qualified in its entirety by, and should be
 read in conjunction with, the more detailed information and financial statements and notes
 thereto appearing elsewhere in this Disclosure Statement together with any relevant Exhibits and
 Appendices.

        Concurrently with the filing of this Disclosure Statement, the Debtors filed the Plan
 which sets forth how Claims against and Interests in the Debtors will be treated in this chapter 11
 case. This Disclosure Statement describes certain aspects of the Plan, the Debtors’ prior
 operations, significant events occurring in the Debtors’ chapter 11 case and other related matters.
 FOR A COMPLETE UNDERSTANDING OF THE PLAN, YOU SHOULD READ THE
 DISCLOSURE STATEMENT, THE PLAN AND THE EXHIBITS HERETO AND THERETO
 IN THEIR ENTIRETY.

 A.      Disclosure Statement Enclosures

 Attached as exhibits to this Disclosure Statement are copies of the following:

         •   The Plan (Exhibit A);

         •   The Order of the Bankruptcy Court (without exhibits) (the “Solicitation Procedures
             Order”), which, among other things, approves the Disclosure Statement and
             establishes certain procedures with respect to the solicitation and tabulation of votes
             to accept or to reject the Plan (Exhibit “B”);

         •   Financial Projections (Exhibit “C”);

         •   Liquidation Analysis (Exhibit “D”);

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         •   Schedule of Environmental Claims (Schedule D-1)

         •   Bid Procedures Regarding an Alternative Transaction (Exhibit “E”)

         •   Current Financial Information (Exhibit “F”)

        In addition, a Ballot for the acceptance or rejection of the Plan is enclosed with the
 Disclosure Statement submitted to the holders of Impaired Claims and Interests that the Debtors
 believe are entitled to vote to accept or reject the Plan.

         The Solicitation Procedures Order sets forth in detail the deadlines, procedures and
 instructions for voting to accept or reject the Plan and for filing objections to confirmation of the
 Plan, and the applicable standards for tabulating Ballots. In addition, detailed voting instructions
 accompany each Ballot. Each holder of an Impaired Claim or Interest entitled to vote on the
 Plan should read in their entirety the Disclosure Statement, the Plan, the Solicitation Procedures
 Order and the instructions accompanying the Ballots before voting on the Plan. These
 documents contain, among other things, important information concerning the classification of
 Claims and Interests for voting purposes and the tabulation of votes. No solicitation of votes to
 accept or reject the Plan may be made except pursuant to section 1125 of the Bankruptcy Code
 and the Solicitation Procedures Order.

 B.      Only Impaired Classes Vote

          Pursuant to the provisions of the Bankruptcy Code, only Classes of Claims and Interests
 that are “impaired” under the Plan may vote to accept or reject the Plan. Generally, a claim or
 interest is impaired under a plan if the holder’s legal, equitable or contractual rights are changed
 under such plan. In addition, if the holders of claims or interests in an impaired class do not
 receive or retain any property under a plan on account of such claims or interests, such impaired
 class is deemed to have rejected the Plan under section 1126(g) of the Bankruptcy Code.

        The Bankruptcy Code defines “acceptance” of a plan by a class of claims as acceptance
 by holders of claims in that class that hold at least two-thirds in dollar amount and more than
 one-half in number of the claims that cast ballots for acceptance or rejection of the plan.

         Section 1129(b) of the Bankruptcy Code permits the confirmation of a plan
 notwithstanding the nonacceptance of a plan by one or more impaired classes of claims or
 interests. Under that section, a plan may be confirmed by a court if (i) at least one class of
 impaired claims accepts the plan and (ii) the plan does not “discriminate unfairly” and is “fair
 and equitable” with respect to each nonaccepting class.

        In addition, if any Impaired Class of Claims or Interests entitled to vote shall not accept
 the Plan by the requisite majorities provided in section 1126(c) of the Bankruptcy Code, the
 Debtors reserve the right to seek to have the Bankruptcy Court confirm the Plan under section
 1129(b) of the Bankruptcy Code.

         Under the Plan, Claims in Classes 3, 4, 5, 8, 9, 10 and 11 are or may be Impaired and are
 entitled to vote on the Plan. Holders of Interests in Class 6 will receive no distribution and,
 accordingly, such holders are deemed to reject the Plan. Votes from holders of Interests in Class

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 7 are not being solicited. Under the Plan, Claims in Classes 1, 2 and 7 are unimpaired, and the
 holders of Class 1, 2 and 7 Claims are conclusively deemed to have accepted the Plan pursuant to
 section 1126(f) of the Bankruptcy Code. ACCORDINGLY, A BALLOT FOR ACCEPTANCE
 OR REJECTION OF THE PLAN IS BEING PROVIDED ONLY TO HOLDERS OF CLAIMS
 IN CLASSES 3, 4, 5, 8, 9, 10 and 11.

         For a summary of the treatment of each Class of Claims and Interests, see “Overview of
 the Plan” below.

 C.      Confirmation Hearing

         The Bankruptcy Court has scheduled the Confirmation Hearing for ________, 2008 at
 10:00 a.m. (ET) in the United States Bankruptcy Court for the District of New Jersey, 401
 Market Street, Camden, New Jersey 08101. The Bankruptcy Court has directed that objections,
 if any, to confirmation of the Plan be served and filed on or before ____________, 2008 at 4:00
 p.m. (ET) in the manner described in the Notice accompanying this Disclosure Statement. The
 date of the Confirmation Hearing may be adjourned from time to time without further notice
 except for an in-court announcement at the Confirmation Hearing of the date and time as to
 which the Confirmation Hearing has been adjourned.

                                   II.     OVERVIEW OF THE PLAN

 A.      Introduction

         The Plan is the product of the effort by the Debtors’ management and its professional
 advisors to develop a plan that will enable Creditors and Interest holders to receive the maximum
 recovery possible in these cases. The valuation of the Debtors and the Reorganized Debtors,
 upon which certain distributions contemplated by the Plan are based, is derived in part from
 projections of the future performance of the Reorganized Debtors. The financial projections,
 which were prepared by the Debtors with the assistance of its advisors, are attached as Exhibit C
 to this Disclosure Statement.

      THE DEBTORS BELIEVE THAT THE PLAN WILL ENABLE THEM TO
 MAXIMIZE THE RECOVERY TO THEIR CREDITORS AND INTEREST HOLDERS AND
 THAT ACCEPTANCE OF THE PLAN IS IN THE BEST INTERESTS OF THE DEBTORS,
 THEIR CREDITORS AND INTEREST HOLDERS. THE DEBTORS THEREFORE URGE
 THOSE PARTIES ENTITLED TO CAST A BALLOT TO ACCEPT THE PLAN.

 B.      Summary of Distributions

         Under the Plan, Claims against and Interests in the Debtors are divided into Classes and
 will receive the distributions and recoveries (if any) described in the table below. The following
 table briefly summarizes the classification and treatment of Claims and Interests under the Plan.
 The ranges of the Estimated Amount of Allowed Claims set forth in the following table reflect
 the amounts listed in the Debtors’ Bankruptcy Schedules (low end of range) and the official
 claims’ register maintained by Epiq Bankruptcy Solutions LLC which includes duplicate,
 amended and late filed claims (high end of range). The Debtors have not completed the analysis
 or reconciliation of the Claims.

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                                        Type of Claim                   Estimated Amount             Estimated
         Class                    or Membership Interest                of Allowed Claims            Recovery
 Unclassified                 Administrative Claims                        $2,513,6061                 100%
 Unclassified                 Arcus DIP Claims                             $22,000,000                 100%
 Unclassified                 Fee Claims                                    $800,0002                  100%
 Unclassified                 Priority Tax Claims                            $84,667                   100%
 1                            Other Priority Claims                         $1,514,113                 100%
 2                            Miscellaneous Secured Claims                       $                     100%
 3                            CIT Claims                                   $55,000,000                 100%
 4                            Collateralized Insurance                                                 100%
                              Program Claims
 5                            General Unsecured Claims                     $38,121,4133                  2%
 6                            Ben Interests                                    N/A4                      0%
 7                            Class 7 Interests                                N/A                      100%
 8                            Class 8 EPA/NJDEP Claims                       $350,000                   100%
 9                            Class 9 Secured Real Estate                    $747,939                   100%
                              Claims
 10                           Class 10 Secured Claims                          $TBD                     100%
                              Purchase Money Security
                              Interests
 11                           Class 11 Secured Claims of                     $200,0005                  100%
                              Warehousemen and Shippers


     ALTHOUGH THE DEBTORS BELIEVE THAT THE ESTIMATED PERCENTAGE
 RECOVERIES ARE REASONABLE AND WITHIN THE RANGE OF ASSUMED

 1
   Debtors have received some reclamation demands and the same will be investigated for allowance. The Debtors
 have advised reclamation creditors that any alleged right of reclamation is subordinate to the claims of the CIT-DIP
 Lenders and Arcus under Section 546(c)(1) and may have no value but such creditors may have a claim under
 Section 503(b)(9). However, Debtors estimate that Section 503(b)(9) claims (for the value of unpaid goods received
 in the 20 days prior to the petition) is in the approximate amount of $1,014,053 for Shapes, $353,548.49 for Delair,
 $304,196.62 for Accu-Weld and $841,808.69 for Ultra. The 503(b)(9) claims will most likely subsume any and all
 reclamation demands and all other administrative claims will be paid in the ordinary course when due.
 2
    This amount represents an estimate of the total amount of Fee Claims that may be requested through May 15,
 2008.
 3
   The above estimate is preliminary and includes all unsecured creditors in all of the Debtors’ cases and no
 representations are being made with respect thereto as underlying this estimate are a number of assumptions that are
 inherently subject to significant uncertainties and contingencies beyond the control of the Debtors. The actual
 amount of claims in Class 5 may be materially higher based upon the ultimate allowed amount of any rejection
 damage claim, any environmental claims, any filed proofs of claim or any claims relating to the Debtors’ multi
 employer pension plans.
 4
   In consideration for the Plan Funders Debt Commitment and Plan Funders Equity Commitments, the Plan Funders
 shall receive 100% on the New L.L.C. Interests in Reorganized Shapes/Arch Holdings L.L.C.
 5
   Debtors are currently analyzing the amount of claims in this class but estimate the same are in excess of
 $100,000.00 and less than $400,000.00.

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 RECOVERY, THERE IS NO ASSURANCE THAT THE FINAL AMOUNTS OF ALLOWED
 CLAIMS IN EACH CLASS WILL NOT MATERIALLY EXCEED THE ESTIMATED
 AGGREGATE AMOUNTS SHOWN IN THE TABLE ABOVE AND THEREFORE
 POSSIBLY DEPLETE THE ESTIMATED PERCENTAGE RECOVERY.                                    The actual
 recoveries under the Plan by the Debtors’ creditors will be dependent upon a variety of factors
 including, but not limited to, whether, and to what extent, Disputed Claims are resolved in favor
 of the Debtors rather than the Creditors. Accordingly, no representation can be or is being made
 with respect to whether each estimated recovery shown in the table above will be realized by the
 holder of an Allowed Claim or Interest. The Debtors have filed the Plan for administrative
 convenience and each class referenced above shall apply to each of the Debtors’ estates with the
 funding for each Class to be shared pro-rata amongst creditors in each estate as if the estates had
 been substantially consolidated.

                                   III.   OVERVIEW OF CHAPTER 11

         Under chapter 11 of the Bankruptcy Code, a debtor is authorized to reorganize or
 liquidate its business for the benefit of itself, its creditors and interest holders. A goal of chapter
 11 is to promote equality of treatment for similarly situated creditors and similarly situated
 interest holders with respect to the distribution of a debtor’s assets.

         The commencement of a chapter 11 case creates an estate that is comprised of all of the
 legal and equitable interests of the debtor as of the filing date. The Bankruptcy Code provides
 that the debtor may continue to operate its business and remain in possession of its property as a
 “debtor-in-possession.”

         The consummation of a chapter 11 plan is the principal objective of a chapter 11 case. A
 chapter 11 plan sets forth the means for satisfying claims against and interests in a debtor.
 Confirmation of a plan by the bankruptcy court makes the plan binding upon, among others, a
 debtor, any issuer of securities under the plan, any person acquiring property under the plan and
 any creditor or interest holder of a debtor.

         After a plan has been filed and a disclosure statement containing adequate information of
 a kind, and in sufficient detail, to enable a hypothetical reasonable investor to make an informed
 judgment about the plan has been approved by the court, the holders of claims against or
 interests in a debtor may vote to accept or reject the plan under certain circumstances.

                      IV.     DESCRIPTION OF THE DEBTORS’ BUSINESS

 A.      The Debtors

         Shapes/Arch Holdings L.L.C. (“Shapes/Arch”) was created to integrate the operations
 and management of the company’s four business units. Shapes L.L.C. (“Shapes”) is a
 manufacturer, fabricator and distributor of a broad array of customized, large profile aluminum
 extrusions. Delair L.L.C. (“Delair”) offers a wide variety of maintenance free aluminum fence
 systems and has one of America’s most recognized brands of above ground pools. Accu-Weld
 L.L.C. (“Accu-Weld”) designs, manufactures and distributes high quality made to order vinyl,
 residential windows and steel entry doors. Ultra L.L.C. (“Ultra”) is a leading supplier of value
 priced, globally sourced hardware products. The membership interest of Shapes/Arch is held

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 100% by Ben LLC while the voting rights of the managers, under the Company’s operating
 agreement, are held by Arcus ASI, Inc. (79.9% of the vote of all managers) and by Ben LLC
 (20.1% of the vote of all managers). Ben, L.L.C. is controlled by various family members who
 are related to the founder of the company (which was formed in 1952). Shapes/Arch owns 100%
 of the membership interests in each of the operating entities.

         The Debtors’ predecessor was established in New Jersey in 1952 to produce aluminum
 windows. By 1959, the business had expanded and began focusing on producing aluminum
 extrusions. The Debtors have consistently expanded their business over the years by investing in
 new facilities and technology and by establishing new product lines. On a consolidated basis,
 the Debtors’ net revenue in 2007 was $273.8 million, with Shapes generating approximately
 65% of that revenue. The Debtors have over 1000 employees, approximately 70% of whom are
 members of either the International Brotherhood of Teamsters Local 837, or the United
 Independent Union.

          Shapes is the largest operating Debtor with 2007 revenue over $179 million and over 600
 employees. Shapes is a leading producer of custom aluminum extrusions for a variety of
 industries, including road and rail transportation and commercial and residential construction.
 Aluminum extrusion is a process by which a heated aluminum billet is rammed through a die to
 create the intended shape. The extruded aluminum exits the press, is cooled and then cut to the
 necessary lengths. Shapes distinguishes itself in the industry because of its extensive large press
 capacity and because all of its casting, extruding, fabricating and finishing is completed in one
 facility. Shapes’ 525,000 square foot facility, which is located in Delair, New Jersey, operates
 twenty-four hours per day, seven days a week, with its casthouse (to produce the billets to be
 pushed through the presses), eight presses of varying sizes, a paint line, an anodizing line and a
 variety of other fabrication equipment. Shapes can produce and ship over 400,000 pounds of
 extruded aluminum per day. Shapes has been recognized in the “Guinness Book of World
 Records” for the largest free standing aluminum structure ever created in connection with the
 restoration of the Statue of Liberty. Shapes also provided the aluminum scaffolding used in
 connection with the restoration of the Washington Monument. In 2007 Shapes’ revenues
 decreased by approximately $35 million compared to 2006. This decrease is, at least in part,
 attributable to the fact that 65% of Shapes’ sales are to the trailer, truck body and railcar sectors,
 all of which have been experiencing an economic downturn.

         Delair manufactures maintenance free aluminum fence systems for residential and
 commercial use, and manufactures America’s most recognized brand of above-ground pools.
 Both product lines are sold through dealers, distributors and major retailers throughout the
 United States. Delair operates from a 350,000 square foot facility adjacent to Shapes in Delair,
 New Jersey. Delair’s proximity to Shapes provides a competitive advantage because Delair
 purchases approximately 70% of its product line from Shapes. Because Delair’s sales are largely
 tied to consumer spending and the housing market, Delair has suffered with that sector of the
 economy and its 2007 revenues were $5.5 million less than in 2006.

       Accu-Weld is a vertically integrated manufacturer of made-to-order vinyl replacement
 windows and steel doors. Accu-Weld’s products are sold to installers, dealers and home
 improvement retailers throughout the Northeastern, Mid-Atlantic and Midwestern United States.
 Accu-Weld operates out of 100,000 square foot facility in Bensalem, Pennsylvania. Unlike

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 many of its competitors, Accu-Weld extrudes its own final profiles, which results in faster
 production and delivery to the customer. Accu-Welds’ net revenues in 2007 were $24.9 million,
 down from $37 million in 2006. The loss of revenue is due principally to Accu-Weld ceasing to
 do business with certain customers that were not profitable or which presented significant,
 unjustifiable credit risk and the general decline of the housing market.

         Ultra is one of the leading suppliers of value branded hardware products in the United
 States, including locksets, door and window hardware and other decorative hardware. Ultra has
 over 8,000 products sourced primarily from China. Ultra’s products are sold to home
 improvement and hardware retailers, hardware cooperatives and distributors, home builders and
 window and door manufactures. Ultra operates from a 75,000 square foot distribution facility in
 Pennsauken, New Jersey with two million cubic feet of storage space. Ultra’s EBITDA
 decreased by $2.2 million due primarily to sales of hardware to lower margin accounts and the
 rapid escalation of product costs from China that could not be passed on to Ultra’s customers.

 B.      The Pre-Petition Capital Structure

         Prior to the Petition Date, Shapes, Delair, Accu-Weld and Ultra (as co-borrowers and/or
 co-guarantors) were indebted to a lender group consisting of The CIT Group/Business Credit,
 Inc. (“CIT”), as agent, JP Morgan Chase Bank, N.A. (successor to Bank One, National
 Association) and Textron Financial Corporation (collectively, the “Lender Group”) pursuant to a
 financing agreement, dated December 30, 2003 (as amended from time to time, the “Pre-Petition
 Financing Agreement,”). Pursuant to the Pre-Petition Financing Agreement, the Lender Group
 provided financing in the form of revolving loans (based upon a percentage of eligible inventory,
 eligible accounts receivable and, during specific periods, assets comprised of property, plant and
 equipment (the “PP&E Equity Borrowing Base Component”), term loan, and letters of credit
 (“Loan”). The Pre-Petition Financing Agreement has been amended on fifteen occasions, most
 recently on or about March 6, 2008, principally to address the additional funding needs of the
 Debtors in light of the cyclical nature of the Debtors’ businesses and required that the Debtors re-
 pay the PP&E Equity Borrowing Base Component on or before March 14, 2008. The Pre-
 Petition Financing Agreement provided for a maximum total credit facility of $75.7 million, and
 a maximum revolving line of credit of $67 million. Shapes/Arch and its parent, Ben LLC, were
 guarantors of the debt to the Lender Group pursuant to the Pre-Petition Financing Agreement.
 The Lender Group maintained a first priority lien on and security interest in substantially all of
 Debtors’ assets, including, without limitation, all accounts receivable, inventory, machinery and
 equipment and real property, and the proceeds thereof. As of the Petition Date, the outstanding
 borrowings from the Lender Group were: (i) revolving loans totaling approximately $47.72
 million (inclusive of the PP&E Equity Borrowing Base Component); (ii) a term loan totaling
 approximately $8.35 million; and (iii) letters of credit totaling approximately $3.55 million for
 an aggregate indebtedness to the Lender Group in the amount of $58,630,849 (the “Bank Debt”).

 C.      Events Leading to Chapter 11 Filing

        Prior to the filing of these Chapter 11 cases, the Debtors had attempted to sell the
 companies and had engaged TM Capital in May of 2006 to explore selling all of the entities.
 Those efforts which went on through the first half of 2007 did not result in a sale of the entities.
 The Debtors then attempted to raise significant additional capital in the fourth quarter of 2007

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 with the assistance of an affiliate of its principal lender, The CIT Group. Their efforts failed to
 uncover any alternative or additional lending source. During the weeks leading up to the filing
 the Debtors had discussions with potential buyers and potential sale/leaseback prospects, but
 their efforts failed to uncover any alternative or additional lending source. Aside from the Plan
 Funders’ proposal, no other timely and viable opportunities presented themselves. Phoenix
 Management Services, Inc. (“Phoenix”) was engaged by the Debtors to review the Debtors’
 current financial situation and to review the 2008 business plan and financial forecast and
 otherwise assist the Debtors in exploring their strategic alternatives.

         The Debtors filed these cases as a result of serious liquidity issues. The Debtors
 consolidated statements for year ending 2007 showed a decline in net revenue by $48.5 million
 dollars from $322.3 million dollars to $273.8 million dollars. EBITDA declined by almost $17
 million from $20.6 million in 2006 to less than $4 million dollars in 2007. The majority of the
 loss related primarily to the depressed results that were obtained by Shapes. Although the net
 revenue of Ultra increased slightly in 2007 from $45.5 million dollars in 2006 to $46.1 million
 dollars in 2007, its EBITDA decreased from $3.3 million in 2006 to $1.1 million in 2007. Both
 Delair and Accu-Weld had significant declines in net revenue during 2007 as well as significant
 declines in EBITDA.

         A substantial portion of the Debtors’ revenue has been impacted by various contractions
 in various industries throughout the United States. By way of example, Shapes’ sales are
 primarily to trailer, truck body and rail car sector customers that are all experiencing declines in
 their own industry. Delair’s customer base is strongly associated with consumer confidence in
 the economy and housing industry and as such, has been affected by the spending habits of
 consumers. Ultra and Accu-Weld are likewise significantly affected by consumer spending in
 the construction industry and home remodeling sectors and have been adversely affected by the
 same. Lastly, due to the seasonality of their businesses, the Debtors faced a significant liquidity
 crises under the Pre-Petition Financing Agreement with the Lender Group. In brief summary,
 the significant decline in revenue and seasonal liquidity position compelled the Debtors to seek
 an alternative to its current position which included, without limitation, seeking relief under
 Chapter 11 of the United States Bankruptcy Code.

         In early January of 2008, with the Debtors’ inability to identify additional or alternative
 financing notwithstanding the efforts of CIT Capital, and their need for borrowing in excess of
 the borrowing base provided for in the Financing Agreement projected to increase to over $7.4
 million over the next several weeks, without factoring in any payments to restructuring
 professionals or to vendors on the past due trade debt, and the Lender Group’s unwillingness to
 fund additional loans in excess of the availability under the borrowing base, the Debtors’
 continued ability to operate was in substantial doubt without a quick and efficient transaction. In
 mid January, 2008, the Debtors began a dialogue with Versa Capital Management, Inc.
 (“Versa”), a Philadelphia based private equity firm to discuss Versa’s interest in a possible
 transaction. Versa expressed interest and conducted extensive due diligence on an expedited
 basis with respect to the Debtors’ businesses in late January. Also during this time frame, and as
 set forth above, the Debtors retained Phoenix.

       In February of 2008, Versa (with certain affiliates), the Debtors and representatives of the
 owners of Ben LLC engaged in arms length negotiations which culminated in an agreement

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 whereby Arcus ASI Funding, LLC (“Arcus”), would, among other things, commit to lend up to
 $25 million to the Debtors during its Chapter 11 proceeding (and provide additional funding and
 an equity infusion to help reorganize the Debtors (through another affiliate, Arcus ASI, LLC
 “Arcus I”). As part of this agreement, Arcus ASI, Inc. would become a manager of (but not a
 member of) Shapes/Arch (with 79.9% of the voting rights) in Shapes/Arch and Ben LLC would
 retain 100% of the ownership rights and 20.1% of the voting rights. This transaction was made
 subject to many terms and conditions including the Lender Group’s commitment to provide DIP
 financing to the Debtors, and the Lenders Group Commitment to Arcus to provide exit financing
 for the companies. The Debtors, Versa and the Lender Group engaged in extensive negotiations
 and ultimately reached an agreement on the terms and conditions upon which Arcus would
 provide additional financing to the Debtors (and the term loan was repaid and the PP&E Equity
 Borrowing Base Component would be eliminated) during any chapter 11 process as well as
 provide an exit facility for the Debtors.

         This Plan reflects a commitment by (i) the Lender Group to provide the Debtors with
 revolving loans throughout the chapter 11 proceedings and upon exiting bankruptcy in the
 amount of up to $60 million, and (ii) Arcus to provide additional working capital for the Debtors,
 and to fund a dividend to creditors, requiring a total commitment by Arcus of approximately $25
 million (plus an additional equity infusion by Arcus I not to exceed five million five hundred
 thousand dollars).

         Attached hereto as Exhibit “F” is a schedule setting forth the Debtors’ operating
 performance for the first two months of 2008. The Debtors shall file monthly operating reports
 for the post petition periods as and when due in accordance with the U.S. Trustee’s guidelines.

                                       V.     THE FILING

         On March 16, 2008 (the “Petition Date”), the Debtors filed voluntary petitions for relief
 under chapter 11 of the Bankruptcy Code. The Debtors continue in the possession of their
 property and the management of their businesses pursuant to sections 1107(a) and 1108 of the
 Bankruptcy Code. The Debtors have, with the Bankruptcy Court’s approval, employed and
 retained (a) Cozen O’Connor, as its bankruptcy counsel; (b) Steven & Lee as special labor and
 conflicts counsel; (c) Phoenix, as its restructuring advisor; and (d) various other ordinary course
 professionals.

 A.      Significant “First Day” Motions

         Immediately after the filing of its chapter 11 petition, the Debtors filed numerous “first
 day” motions seeking orders from the Bankruptcy Court authorizing the Debtors to retain
 professionals and providing the Debtors certain relief from certain administrative requirements
 imposed by the Bankruptcy Code. These orders were requested to ease the strain on the Debtors’
 relationships with customers, employees and others as a consequence of the filing. In particular,
 the Debtors obtained orders approving the following motions and applications:

        Verified Motion for an Order Directing Joint Administration and Procedural
 Consolidation [Docket No. 3];



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        Verified Motion for Entry of Interim and Final Orders (I) Authorizing and Approving
 Postpetition Financing; (II) Granting Liens and Security Interests and Providing Superpriority
 Administrative Expense Status; (III) Modifying Automatic Stay; and (IV) Scheduling Final
 Hearing, Pursuant to §§ 105, 362, 363 and 364 of the Bankruptcy code and Federal Rules of
 Bankruptcy Procedures 2002 and 4001(c) and (d) [Docket No. 18];

        Verified Motion for an Order Authorizing the Debtors to Maintain Current Bank
 Accounts, Maintain Their Pre-Petition Cash Management System, and Use Existing Business
 Forms [Docket No. 4];

         Debtors’ Verified Motion for an Order Authorizing But Not Directing Payment of Pre-
 Petition Wages, Salaries, Compensation, Employee Benefits, Business Reimbursement
 Expenses, Certain Union Payments, and the Continuation of the Debtors’ Workers’
 Compensation Program and Policies Pursuant to 11 U.S.C. §§ 105(a), 507(a)(4) and (5) [Docket
 No. 5];

        Verified Motion for Interim and Final Orders: (I) Prohibiting Utility Companies form
 Discontinuing, Altering or Refusing Services; (II) Deeming Utility Companies to Have Adequate
 Assurance of Payment; and (III) Establishing Procedures for Determining Requests for
 Additional Assurance Pursuant to 11 U.S.C. § 366 [Docket No. 6];

        Verified Motion for an Order Authorizing the Debtors to Pay Pre-Petition Sales and Use
 Taxes [Docket No. 7];

        Application for Retention of Epiq Bankruptcy Solutions, LLC, as Official Noticing
 Claims and/or Solicitation and Balloting Agent for the Debtors [Docket No. 10];

        Debtors’ Verified Motion for an Order Establishing a Bar Date Pursuant to Fed. R.
 Bankr. P. 2002(a)(7) and 3003(c)(3) [Docket No. 9];

        Motion for an Order Pursuant to 11 U.S.C. §§ 105(a) and 331 Establishing Procedures for
 Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 11]; and

        Debtors’ Motion to: (I) to Confirm Grant of Administrative Expense Status to
 Obligations Arising from Postpetition Delivery of Goods; (II) Establish Authority to Pay Certain
 Expenses in the Ordinary Course of Business and (III) Prohibit Third Parties from Interfering
 with Delivery of Good [Docket No. 18].

 B.      DIP Financing and Use of Cash Collateral

         1.       DIP Financing

        Essential to the Debtors’ efforts to reorganize was obtaining a source of post-petition
 funding. To that end, on March 16, 2008, the Debtors filed the Debtors’ Motion for Order (I)
 Authorizing the Debtors to Obtain Postpetition Senior Secured Superpriority Financing Pursuant
 to 11 U.S.C. §§ 105, 361, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) and 364(e), and
 (II) Granting Related Relief [Docket No. ____] (the “DIP Motion”). Interim Orders were
 entered on March 18 (followed by three bridge orders) granting the relief requested in the DIP

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 Motion, subject to a final hearing on the same. By Orders of the Bankruptcy Court dated
 _____________, 2008 [Docket Nos. ____] (the “Final DIP Order”), the Bankruptcy Court
 approved the DIP Motion and authorized the Debtors to enter that certain Debtors-in-Possession
 Loan and Security Agreement by and between the Debtors and Arcus (the “DIP Agreement”).
 Pursuant to the terms of the DIP Agreement, Arcus has made $25,000,000 available to the
 Debtors. As of the anticipated date of the Confirmation Hearing, the Debtors estimate that it will
 have drawn approximately $22,000,000.00 on the DIP Agreement. The Obligations (as defined
 in the Final DIP Order) are secured by valid and perfected priming liens and security interests
 granted to Arcus Funding on all of the Debtors’ assets and properties (subject to first lien in
 favor of The Lender Group on the Inventory and Accounts Receivable) and as more fully set
 forth in certain Intercreditor Agreement dated March 18, 2008). The Lender Group had also
 agreed to provide the Debtors with additional availability under a new Sixty Million Dollar
 Debtor-in-Possession Revolving Credit Agreement (“DIP Revolver Agreement”) to fund
 operations pending confirmation of the Plan. Debtors’ obligations to The Lender Group have
 been reduced by utilizing a portion of the proceeds of the DIP Loan from Arcus to repay the
 Term Loan and the loans due with respect to PP&E Equity Borrowing Base Component due and
 owing to CIT.

 C.      Claims Process

         1.       Last Date to File Proofs of Claim

          On March 18, 2008, the Bankruptcy Court entered an order (the “Bar Date Order”)
 [Docket No. 35] generally requiring any Person holding or asserting a Claim against the Debtors
 to file a written proof of claim with Debtors, c/o Epiq Bankruptcy Solutions, 757 Third Avenue,
 New York New York 10017 on or before 5:00 p.m., prevailing Eastern Time on May 15, 2008.
 The Bar Date Order provided that any person or entity failing to timely file a proof of claim will
 be forever barred, estopped and enjoined from (a) asserting a timely filed claim against the
 Debtors that the entity has that (i) is in an amount that exceeds the amount, if any, that is
 identified in the Schedules of Assets and Liabilities on behalf of such entity as undisputed,
 noncontingent and liquidated (if no amount is identified therein for that entity then the entity
 shall be forever barred, estopped and enjoined from asserting any claim at all against the
 Debtors) or (ii) is of a different nature or a different classification than any claim identified in the
 Schedules of Assets and Liabilities on behalf of such entity; or (b) voting upon, or receiving
 distributions under, any plan or plans of reorganization in this case in respect of a Claim. The
 Bar Date Order provides other bar dates in other circumstances as set forth in that order.

                     VI.     DESCRIPTION OF SIGNIFICANT LITIGATION

 A.      Preferences, Fraudulent Transfers and Other Avoidance Actions

         Pursuant to section 547 of the Bankruptcy Code, a debtor may recover certain preferential
 transfers of property, including Cash, made while insolvent during the ninety (90) days
 immediately prior to the filing of its bankruptcy petition with respect to pre-existing debts to the
 extent the transferee received more than it would have in respect of the pre-existing debt had the
 transferee not received the payment and had the debtor been liquidated under chapter 7 of the



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 Bankruptcy Code. In the case of “insiders,” the Bankruptcy Code provides for a one-year
 preference period.

         Transfers made in the ordinary course of the debtor’s and the transferee’s business
 according to the ordinary business terms are not recoverable. Furthermore, if the transferee
 extended credit subsequent to the transfer (and prior to the commencement of the bankruptcy
 case), such extension may constitute a defense, to the extent of any new value, against any
 otherwise recoverable transfer of property. If a preferential transfer were recovered by the
 debtor, the transferee would have a general unsecured claim against the debtor to the extent of
 the debtor’s recovery.

         The Debtors estimate that it made payments in the approximate amount of $61,122,757 to
 various creditors within the ninety-day period preceding the Petition Date and payments of
 $5,035,451.00 to insiders within the one-year period preceding the Petition Date. The Debtors
 have not yet analyzed whether any of these payments are preferences (within the meaning of the
 Bankruptcy Code) or whether the recipients of such payments would have a defense to a
 preference action, if commenced. However, it is anticipated that the Plan Administrator will
 conduct such an analysis and commence appropriate actions which may ultimately increase the
 net dividend to Class 5 Unsecured Creditors but the amount of such increase, if any, is difficult
 to determine at this time.

         Under section 548 of the Bankruptcy Code and various state laws, a debtor may recover
 certain prepetition transfers of property, including the grant of a security interest in property,
 made while insolvent to the extent the Debtors received less than fair value for such property. In
 addition, avoidance actions exist under sections 544, 545, 549 and 553(b) of the Bankruptcy
 Code that allow a debtor to avoid and/or recover certain property. As of the date of the
 distribution of this Disclosure Statement, the Debtors have not yet estimated the potential
 recovery from the prosecution of their Avoidance Actions. Under the Plan, the Avoidance
 Actions will be transferred to the Liquidation Trust which will have the authority to investigate
 and prosecute all such Avoidance Actions to do the same in their discretion.

 B.      Other Causes of Action

         1.       Investigation of Causes of Action

        The Reorganized Debtors have not, but will, investigate causes of action against a
 number of Persons, relating to, among other things, the following (collectively, the “Causes of
 Action”):

       •        Any lawsuits for, or in any way involving, the collection of accounts receivable or
 any matter related to the Plan;

         •      Any actions against landlords, lessees, sublessees, or assignees arising from
 various leases, subleases, and assignment agreements relating thereto, including, but not limited
 to, actions for overcharges relating to taxes, common area maintenance and other similar
 charges;



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         •      Any litigation or lawsuit initiated by the Debtors that is currently pending,
 whether in the Bankruptcy Court, before the American Arbitration Association or any other court
 or tribunal;

       •       Any and all potential Causes of Action against any customer or vendor who has
 improperly asserted or taken action through setoff or recoupment; and

         •      Any and all actions, whether legal, equitable, or statutory in nature, arising out of,
 or in connection with, the Debtors’ business operations.

        Debtors are not aware of any causes of action against any officers or directors (without
 prejudice to the Committee’s right to investigate the same prior to the Confirmation Date).
 Debtors currently have a directors’ and officers insurance policy which expires on April 30, 2008
 in an amount not to exceed three million dollars and Debtors are in the process of
 binding/obtaining coverage through April 30, 2009.

         In addition, there may be numerous other Causes of Action which currently exist or may
 subsequently arise that are not set forth in the Plan or Disclosure Statement, because the facts
 upon which such Causes of Action are based are not fully or currently known by the Debtors and
 as a result, cannot be raised during the pendency of the case (collectively, “Unknown Causes of
 Action”). The failure to list any such Unknown Cause of Action in the Plan or the Disclosure
 Statement is not intended to limit the rights of the Reorganized Debtors, to pursue any Unknown
 Cause of Action to the extent the facts underlying such Unknown Cause of Action become fully
 known to the Debtors and Reorganized Debtors.

         2.       Preservation of All Causes of Action Not Expressly Settled or Released

        The Debtors have attempted to disclose all material Causes of Action, including
 Avoidance Actions and other actions that it may hold against third parties. However, the
 Debtors have not performed an extensive investigation or analysis of potential claims and Causes
 of Action against third parties. It is the contemplation of the Debtors, that such investigation and
 analysis will occur post-Confirmation by the Reorganized Debtors, as applicable. You should not
 rely on the omission of the disclosure of a claim or Cause of Action to assume that the Debtors
 holds no claim or Cause of Action against any third-party, including any Creditor that may be
 reading this Disclosure Statement and/or casting a Ballot. In addition, the Debtors have no
 knowledge or information as to whether the Liquidation Trust will or will not pursue the
 Avoidance Actions.

         Unless expressly released by the Plan or by an order of the Bankruptcy Court, any and all
 such claims or Causes of Action against third parties are specifically reserved and will be
 transferred to the Reorganized Debtors.

         The Debtors’ failure to identify a claim or Cause of Action herein is specifically not a
 waiver of any claim or Cause of Action. The Debtors will not ask the Bankruptcy Court to rule
 or make findings with respect to the existence of any Cause of Action or the value of the entirety
 of the Estate at the Confirmation Hearing; accordingly, except claims or Causes of Action which
 are expressly released by the Plan or by an Order of the Bankruptcy Court, the Debtors’ failure to
 identify a claim or Cause of Action herein shall not give rise to any defense of any preclusion

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 doctrine, including, but not limited to, the doctrines of res judicata, collateral estoppel, issue
 preclusion, claim preclusion, waiver, estoppel (judicial, equitable, or otherwise), or laches with
 respect to claims or Causes of Action which could be asserted against third parties, including
 Creditors of the Debtors which may be reading this Disclosure Statement and/or casting a Ballot
 except where such claims or Causes of Action have been released in the Plan or the Confirmation
 Order or other order of the Bankruptcy Court.

 C.      Claims Concerning the Environmental Protection Agency and other Environmental
         Claims.

         Numerous environmental claims have been asserted against one or more Debtors as more
 fully set forth in Schedule 4.5 to the Plan. The Debtors believe that most if not all of the claims
 are covered by applicable insurance policies. Without effecting the obligations of any third
 parties (i.e. insurance companies), and except for the Claims of EPA/NJDEP, all other
 environmental claims (or claims of third parties relating to environmental claims and including
 those set forth in Sections III and IV of Schedule 4.5 of the Plan) are treated as Class 5 General
 Unsecured Claims and will be discharged. A brief description of the environmental claims is set
 forth below.

Ewan Superfund Site, Shamong Township, New Jersey

          The Ewan Superfund Site is an Environmental Protection Agency ("EPA") National
 Priorities List (“NPL”) site and the identification number is EPA ID#
 NJD980761365/NJD0200791. Aluminum Shapes, Inc., (a predecessor to Shapes, LLC)
 (hereinafter “Shapes”) and other parties have been identified as potentially responsible parties
 (“PRP”) and have received Section 106 Orders pursuant to the Comprehensive Environmental
 Response, Compensation and Liability Act (“CERCLA”). The Orders were effective in June
 1990 and May 1995. The June 1990 Section 106 Order required Shapes and other PRPs to
 undertake and complete all response actions for the Operable Unit. 1 at the NPL site. The May
 1995 Section 106 Order requires Shapes, in addition to other PRPs to undertake and complete all
 response actions required for remediation of the groundwater (which is designated as “Operable
 Unit 2”). Shapes’ liability is premised upon the allegation that it arranged for the transport of
 hazardous substances which were allegedly released at the Ewan Superfund Site. Groundwater
 at the site has been actively remediated since 1999.

         Future operations and maintenance activities may take less time than originally
 anticipated depending upon groundwater sampling results being analyzed at this time (the 2.5
 year sampling data was collected in March 2008). The EPA has approved limited shut downs of
 parts of the treatment systems based upon the sampling results.

         Shapes’ general liability insurance carriers from the late 1960’s through the early 1980’s
 have paid defense and/or indemnity costs to date. These insurance carriers include the
 following: Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty
 Association on behalf of Reliance Insurance Company in Liquidation and The PMA Group.
 There are insurance policies for excess/umbrella coverage. To the best of Debtors’ knowledge,
 these excess carriers have been placed on notice of this matter. To date, the excess carriers have



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 not made any payment(s) in this matter. There is no guarantee that the insurance carriers will
 pay or continue to pay the defense and/or indemnity costs in the future.

         The New Jersey Department of Environmental Protection (“NJDEP”) filed a complaint
 alleging that certain parties were liable for Natural Resource Damages("NRD"). Shapes was
 named as a defendant in an amended complaint that was filed on February 12, 2008. The State
 also seeks compensation for damages to wetlands that were allegedly damaged during the
 remediation activities that have occurred to date.

         Shapes' liability as to CERCLA response costs and NRD have not been determined.

 D’Imperio Superfund Site, Hamilton Township, New Jersey

         The D’Imperio Superfund Site is an EPA NPL site and has the following site
 identification number: EPA ID# NJD980529416. Shapes and other parties were identified as
 PRPs and received Section 106 Administrative Orders pursuant to CERCLA which were
 effective in August 1993 and in 2003. The Orders require the PRPs to implement the remedial
 design for the remediation of groundwater and require the PRPs to conduct additional response
 costs as specified in the Statement of Work. The basis for CERCLA liability for Shapes is the
 allegation that it arranged for the disposal of hazardous substances which were allegedly
 released at the D’Imperio Superfund Site.

         Groundwater has been actively remediated at the Site for approximately 10 years.
 Shapes’ general liability insurance carriers from the late 1960’s through the early 1980’s have
 paid defense and/or indemnity costs to date. The insurance carriers include the following:
 Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty Association on behalf
 of Reliance Insurance Company in Liquidation and The PMA Group, There are insurance
 policies for excess/umbrella coverage. To the best of Debtors’ knowledge, these excess carriers
 have been placed on notice of this matter. To date, the excess carriers have not made any
 payment(s) in this matter. There is no guarantee that the insurance carriers will pay or continue
 to pay the defense and/or indemnity costs in the future.

        Shapes was a party to an October 1, 2002 settlement agreement with the NJDEP
 regarding Natural Resource Damages claims and oversight costs. The settlement amount totaled
 $495,000.

         Shapes' liability as to CERCLA response costs have not been determined.

 Swope Oil and Chemical Company Superfund Site, Pennsauken, New Jersey

         The Swope Oil and Chemical Company Superfund Site is an EPA NPL Site and has the
 following identification number: EPA ID# NJD041743220. The ongoing remediation of this
 Site involves the remediation of three operable units: Operable Unit 1 (surficial contamination),
 Operable Unit 2 (contaminated subsurface soils which serve as a source for the groundwater
 contamination) and Operable Unit 3 (groundwater contamination). EPA has indicated that there
 may also be a vapor intrusion issue although this particular issue has not been delineated at this



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 time. Nevertheless, EPA is requiring the PRPs to evaluate the existence of a vapor intrusion
 pathway into buildings that are adjacent to the Superfund Site.

        Shapes and other parties received a Section 106 Administrative Order pursuant to
 CERCLA which was effective on August 16, 1986. The Order requires the submission of a
 Statement of Work based upon the sampling results, the submission of a Final Design and
 Operations Plan and the implementation of remedial work. The Order also requires the PRPs to
 remove the drums and the contents of onsite tanks and vessels as well as, all structures and
 requires the sampling and removal of onsite soils.

        Shapes and other parties are also subject to an Administrative Settlement Agreement and
 Order on Consent, for the Supplemental Remedial Investigation and Focused Feasibility Study
 dated September 27, 2006 for Operable Unit 3 (groundwater contamination) pursuant to Sections
 104, 107 and 122 of CERCLA. This particular Order also requires reimbursement of all future
 response costs that are incurred by EPA in connection with this Superfund Site. A claim has not
 been made by EPA or NJDEP for Natural Resource Damages.

        A judicial Consent Decree was executed for this Superfund Site in 1993 but Shapes was
 not a party to the Consent Decree. The Consent Decree pertained to remedial design and action
 for Operable Unit 2.

        According to EPA/Region II, the final response costs have not been estimated for this
 Superfund Site. Although EPA has performed some removal actions at this Superfund Site, it
 has been reimbursed for these costs by the PRPs. EPA is billing the PRPs for all oversight costs
 at an approximate amount of $10,000 per year depending upon the remedial work that is
 undertaken for any given year.

          Shapes’ general liability insurance carriers from the late 1960’s through the early 1980’s,
 have paid the indemnity and/or defense costs to date. These insurance carriers include the
 following: Liberty Mutual Insurance Company, New Jersey P&L Insurance Guarantee
 Association on behalf of Reliance Insurance Company in Liquidation, and Century Indemnity
 Company, as successor to CCI Insurance Company, as successor to Insurance Company of North
 America,. There are insurance policies for excess/umbrella coverage. To the best of Debtors’
 knowledge, these excess carriers have been placed on notice of this matter. To date, the excess
 carriers have not made any payment(s) in this matter. There is no guarantee that the insurance
 carriers will pay or continue to pay the defense and/or indemnity costs in the future. Shapes'
 liability for CERCLA response costs have not been determined.

 Puchack Wellfield, Pennsauken Township, New Jersey

         The Puchack Wellfield Superfund Site is an EPA NPL site: The EPA site identification
 number is: EPA ID# NJD981084767. The EPA issued a Record of Decision on September 28,
 2006. The EPA has not identified Shapes as a PRP for chromium at this site. According to
 EPA/Region II, the site is contaminated with chromium and other hazardous substances and
 there are two operable units. Operable Unit 1 pertains to the remediation of groundwater and
 Operable Unit 2 pertains to the remediation of the source areas. The investigation and
 remediation of this NPL site is ongoing.


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         Shapes received an information request from EPA pursuant to Section 104(e) of
 CERCLA on December 15, 1999. Shapes responded to the Section 104(e) information request
 but, as noted, has not been identified as a PRP for this NPL site. EPA believes that chlorinated
 solvents are ubiquitous in this area of New Jersey and has deferred all investigations and
 remediation oversight to NJDEP.

        Shapes received a Directive and Notice to Insurers dated October 31, 1997 and
 Supplemental Directives and Notice to Insurers issued by NJDEP on May 7, 1992, October 27,
 1995 and May 17, 1996. The Directives were issued based upon the premise that Shapes, along
 with other parties, had allegedly discharged chromium and other hazardous substances
 unlawfully to groundwater. The Directives required Shapes to pay costs associated with the
 construction of a potable water treatment system and for remedial investigation work.

         According to EPA/Region II, past response costs total approximately $11.4 million and
 future response costs total approximately $13 million although the remedial costs may be higher.

         Shapes’ general liability insurance carriers from the late 1960’s through the early 1980’s,
 have paid defense and/or indemnity costs to date. These insurance carriers include the
 following: Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty
 Association on behalf of Reliance Insurance Company in Liquidation, The PMA Group and
 Century Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance
 Company of North America. There are insurance policies for excess/umbrella coverage. To the
 best of Debtors’ knowledge, these excess carriers have been placed on notice of this matter. To
 date, the excess carriers have not made any payment(s) in this matter. There is no guarantee that
 the insurance carriers will pay or continue to pay the defense and/or indemnity costs in the
 future. There has been no formal claim by EPA or the State of New Jersey for Natural Resource
 Damages.

        Shapes liability for CERCLA response costs and costs owed to the State of New Jersey
 have not been determined.6

 Lightman Drum Company Superfund Site, Winslow Township, New Jersey

         The Lightman Drum Company Superfund Site is an EPA NPL site and the EPA site
 identification number is EPA ID# 02-2000-2034.

         In November 2000, the EPA issued an Administrative Order on Consent for Remedial
 Investigation and Feasibility Study. Shapes did not consent to the Order and is not a party to it.

 6
    In 2002, Shapes and others were sued in a private action, Harris et al. v. Advance Process Supply Co., et al.,
 (Docket No.: L-03815-02, Superior Court, Camden County, NJ). This was a proposed class action which allegedly
 emanates from the Puchack Wellfield. Class certification was denied on June 30, 2006 and a Summary Judgment
 was granted to the defendants after the plaintiffs proceeded individually on their alleged claims on the following
 dates: January 27, 2007, February 27, 2007 and July 31, 2007. On April 8, 2008, the Appellate Division dismissed
 Shapes without prejudice due to the Automatic Bankruptcy Stay. Shapes’ general liability insurance carriers have
 paid defense costs to date. These insurance carriers include Liberty Mutual Insurance Company, New Jersey P&L
 Insurance Guaranty Association on behalf of Reliance Insurance Company in Liquidation, The PMA Group and
 Century Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance Company of North
 America.

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 Shapes remains involved at the Site as a participating party. The Order requires the preparation
 and performance of the remedial investigation and feasibility study and further requires the
 reimbursement of response costs incurred by EPA.

         EPA also issued an Administrative Order on Consent for a Removal Action in 2007.
 Shapes is not a party to that Order but remains a participating PRP. The Removal Action Order
 is limited to excavation of certain contaminated soils on the Lightman Site which were believed
 to be contributing to the source of one of the groundwater plumes. The 2007 Order requires the
 parties to conduct removal actions and to reimburse EPA for response costs incurred for all
 removal actions and all future response costs.

         According to the EPA/Region II, a feasibility study was submitted to the Agency in
 December 2007 and soil excavation was undertaken in the vicinity of the former waste storage
 tank area. The December 2007 Feasibility Study lists several technologies for remediation of
 soils and groundwater onsite and for remediation of offsite, downgradient groundwater.
 According to the Feasibility Study, the most expensive combination of the technological
 alternatives is estimated to cost $14,860,000 for all of these components.

        According to the EPA/Region II, the Agency has not estimated the response costs
 associated with the final remedy for the site. EPA is billing the PRPs for oversight costs at
 approximately $10,000 per year depending upon the remedial work implemented for that year.
 In February 2008, EPA expressed a preference for an Air Sparging, Soil Vapor Extraction
 remedy as the on site soil and groundwater component. This component was estimated as
 $5,680,000 of the above cited $14,860,000 estimated by the site consultant. EPA has not
 decided on a remedy for the downgradient groundwater remediation component.

         Shapes’ general liability insurance carriers from the late 1960’s through the early 1980’s
 have paid defense and/or indemnity costs to date. These insurance carriers include the
 following: Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty
 Association on behalf of Reliance Insurance Company in Liquidation and The PMA Group.
 There are insurance policies for excess/umbrella coverage. To the best of Debtors’ knowledge,
 these excess carriers have been placed on notice of this matter. To date, the excess carriers have
 not made any payment(s) in this matter. There is no guarantee that the insurance carriers will
 pay or continue to pay the defense and/or indemnity costs in the future.

         Shapes' liability for CERCLA response costs have not been determined.

 9000 River Road, Pennsauken, New Jersey

        Shapes currently owns and operates at 9000 River Road, Pennsauken, New Jersey.
 NJDEP issued a Directive and Notice to Shapes and insurers on June 2, 1992 requiring Shapes to
 address alleged violations of: discharge limits for process wastewater, stormwater runoff and
 contact cooling water. The alleged contaminant of concern is chromium. A Supplemental
 Directive No. 1 was issued on July 16, 1992 to Shapes and the insurers directing Shapes to
 address alleged chromium discharges onto the property and into groundwater. The Directive
 also required Shapes to identify and address all sources contributing to the alleged chromium
 contamination in the soils and the groundwater at the facility and to prevent the migration of the


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 alleged chromium contamination. Shapes has conducted investigations at this facility to date and
 has been cooperating with NJDEP. At present, Shapes is waiting for a response from the Agency
 as to its proposed work plans.

         A Memorandum of Agreement (“MOA”) was executed between NJDEP and Shapes on
 July 1, 1993 and an Amendment to the MOA was executed on July 7, 2007 for chromium only.

        The Agreements require Shapes to conduct investigation, remediation and to cooperate
 with the State of New Jersey in connection with its review of the proposed investigations and
 remediation of the facility. Shapes has submitted two (2) Remedial Investigation Work Plans to
 NJDEP and a response is pending. Shapes’ environmental consultant (Roux Associates) has
 estimated that the response costs will range from $1.3 million to 1.8 million including any costs
 for Natural Resource Damages. Shapes will continue to perform the obligations set forth in the
 MOA and the Amendment to the MOA for this facility

         Shapes’ general liability insurance carriers from the late 1960’s through the early 1980’s
 have paid defense and/or indemnity costs to date. The insurance carriers include the following:
 Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty Association on behalf
 of Reliance Insurance Company, in Liquidation, The PMA Group and Century Indemnity
 Company, as successor to CCI Insurance Company, as successor to Insurance Company of North
 America. There are insurance policies for excess/umbrella coverage. To the best of Debtors’
 knowledge, these excess carriers have been placed on notice of this matter. To date, the excess
 carriers have not made any payment(s) in this matter. There is no guarantee that the insurance
 carriers will pay or continue to pay the defense and/or indemnity costs in the future.

 Pennsauken Solid Waste Management Authority, et al. v. Ward Sand Materials Co., Inc.,
 et al., Superior Court of New Jersey, Camden County, Law Division, Docket No.: L-13345-
 91.

         This case was filed by Pennsauken Township and the Authority that owns and operates
 the Pennsauken Landfill on December 4, 1991 as a contribution action under the New Jersey
 Spill Compensation and Control Act (N.J.S.A. 58.10-23.11 et. seq. and the Water Pollution
 Control Act N.J.S.A. 58:10 A-1 et.seq., Chapter 151 of the Pennsauken Township Ordinance
 entitled “Garbage, Rubbish and Refuse” Code, and Chapter 270 of the Pennsauken Township
 Ordinance entitled “Nuisance, Public Health” Code of the Public Health Nuisance Code of New
 Jersey (1953) N.J.S.A. 26:3-69 to 3-69.6) The plaintiffs sued numerous defendants and alleged`
 that these defendants deposited various types of wastes in the landfill during the period from
 1970 to June 30, 1982. Shapes is among those defendants sued by the plaintiffs. Hundreds of
 additional defendants were joined in the matter based on the alleged arrangement of
 transportation of their wastes to the landfill. The case is currently pending in the New Jersey
 Superior Court, Law Division, Camden County. The plaintiffs allege that any or all of the
 defendants are responsible for clean up and removal costs associated with groundwater
 contamination caused by the wastes in the landfill. Plaintiffs have made a claim for
 approximately $28 Million for past clean up and removal costs under the Spill Act. Plaintiffs
 have submitted expert reports claiming $41 Million in future clean-up and removal costs. This
 case is in active litigation and a trial date is scheduled for September 2, 2008. Expert discovery
 is underway and concludes on July 31, 2008. Shapes’ potential liability for this site, has not been

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 determined. Shapes’ alleged liability is premised upon its waste contaminating the groundwater
 underneath the Landfill. At this time, the groundwater flow direction is currently under
 investigation.

         Shapes’ general liability insurance carriers from the late 1960’s through the early 1980’s ,
 have paid defense and/or indemnity costs to date. These insurance carriers include the
 following: Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty
 Association on behalf of Reliance Insurance Company in Liquidation, The PMA Group and
 Century Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance
 Company of North America. There are insurance policies for excess/umbrella coverage. To the
 best of Debtors’ knowledge, these excess carriers have been placed on notice of this matter. To
 date, the excess carriers have not made any payment(s) in this matter. There is no guarantee that
 the insurance carriers will pay or continue to pay the defense and/or indemnity costs in the
 future.

         Some of the Objectors to the Joint Disclosure Statement (mostly those involved in the
 Pennsauken Solid Waste Management Authority matter), premised their objections upon their
 alleged lack of information regarding any potential insurance that may be applicable to Debtors’
 environmental matters. It should be noted that a schedule of Insurance was provided as part of a
 discovery response dated August 8, 1998 in that matter. Shapes responded to requests for
 discovery regarding insurance in accordance with the Case Management Orders governing the
 case, as well as the New Jersey Rules of Court.

 Chemical Control Corporation, Elizabeth, New Jersey

          The Chemical Control Corporation Superfund Site is an EPA NPL site and the EPA site
 identification number is EPA ID# NJD000607481. Shapes’ estimated percentage share of costs
 as a de minimis contributor was less that .0467 percent. Shapes’ liability with the EPA was
 settled.

 Buzby Brothers landfill Superfund Site, Voorhees New Jersey

         Buzby Brothers Landfill Superfund Site is an EPA NPL site and the EPA identification
 number is: EPA ID# NJD000305524. According to NJDEP, the remediation is essentially
 complete and the site continues to be monitored by General Electric. Shapes’ estimated
 percentage share was $40,000 and Shapes was dismissed from liability pursuant to a February
 10, 1995 Release, Indemnification and Settlement Agreement between General Electric and
 Settling Companies. The Settlement Agreement addressed past and future response costs but did
 not include costs associated with potential Natural Resource Damages. Accordingly, Shapes’
 potential liability for natural resource damage claims has not been determined..

          A complaint was filed by the State of New Jersey against General Electric and Buzby
 Brothers Materials on June 27, 2007 in connection with Natural Resource Damages. The State is
 in settlement discussions with General Electric. Shapes has not been identified as a party to this
 matter.




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         It is unknown as to whether Shapes’ insurance carriers will pay any additional response
 costs or Natural Resource Damages for this Superfund Site.

                              VII. SUMMARY OF PLAN PROVISIONS

 A.      Introduction

         The Plan is the product of diligent efforts by the Debtors to formulate a plan that provides
 for a fair allocation of the Debtors’ assets in an orderly manner, consistent with the mandates of
 the Bankruptcy Code and other applicable law. The liquidation analysis prepared by the Debtors
 with the assistance of Phoenix reflects an aggregate value for the Debtors as more fully set forth
 in Exhibit “D” attached hereto. The aggregate Secured Claims of CIT and Arcus will be in the
 approximate amount of seventy eight million dollars ($78,000,000.00) on the Confirmation Date.

        The Debtors believe that confirmation of the Plan provides the best opportunity for
 maximum recoveries to the Debtors’ creditors and interest holders. The Debtors believe, and
 will demonstrate to the Bankruptcy Court, that the Debtors’ creditors will receive significantly
 more value under the Plan than any available alternative.

      THE FOLLOWING IS A SUMMARY OF SOME OF THE SIGNIFICANT ELEMENTS
 OF THE PLAN. THIS DISCLOSURE STATEMENT IS QUALIFIED IN ITS ENTIRETY BY
 REFERENCE TO THE MORE DETAILED INFORMATION SET FORTH IN THE PLAN.

 B.      Method of Classification of Claims and Interests and General Provisions

         1.       General Rules of Classification.

         Generally, a Claim is classified in a particular Class for voting and distribution purposes
 only to the extent the Claim qualifies within the description of that Class, and is classified in
 another Class or Classes to the extent any remainder of the Claim qualifies within the description
 of such other Class or Classes. Unless otherwise provided, to the extent a Claim qualifies for
 inclusion in a more specifically defined Class and a more generally-defined Class, it shall be
 included in the more specifically defined Class.

         2.       Administrative Claims, Priority Tax Claims, DIP Claims, and Fee Claims.

        Administrative Claims, Priority Tax Claims, Arcus Holders DIP Claims, and Fee Claims
 have not been classified and are excluded from the Classes set forth in Article III of the Plan in
 accordance with section 1 l23(a)(1) of the Bankruptcy Code.

         3.       Bar Date for Administrative Claims.

        Unless otherwise ordered by the Bankruptcy Court, requests for payment of
 Administrative Claims (except for Fee Claims) must be filed and served on the Reorganized
 Debtors and Plan Administrator, and their respective counsel, no later than thirty (30) days after
 the Effective Date (the “Administrative Claim Bar Date”). Any Person that is required to file
 and serve a request for payment of an Administrative Claim and fails to timely file and serve
 such request, shall be forever barred, estopped and enjoined from asserting such Claim or

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 participating in distributions under the Plan on account thereof. Objections to requests for
 payment of Administrative Claims (except for Fee Claims) must be filed and served on the
 Reorganized Debtors and Plan Administrator, and their respective counsel, and the party
 requesting payment of an Administrative Claim within twenty (20) days after the filing of such
 request for payment.

         4.       Bar Date for Fee Claims.

        Unless otherwise ordered by the Bankruptcy Court, requests for payment of Fee Claims
 incurred through the Effective Date, must be filed and served on the Plan Administrator and its
 counsel no later than thirty (30) days after the Effective Date (the “Fee Claim Bar Date”). Any
 Professional that is required to file and serve a request for payment of a Fee Claim and fails to
 timely file and serve such request, shall be forever barred, estopped and enjoined from asserting
 such Fee Claim or participating in distributions under the Plan on account thereof. Objections to
 Fee Claims must be filed and served on the Plan Administrator, its counsel, and the requesting
 party by twenty (20) days after the filing of the applicable request for payment of the Fee Claim.

         5.       Intercompany Claims.

         Each of the Debtor entities have historically borrowed based on availability. Funds are
 lent or borrowed by each entity based on cash flow and/or cash needs. Due to the manner in
 which the companies have historically accounted for intercompany transactions, it is virtually
 impossible to identify how much Shapes and Accu-Weld owe to each entity as well as how much
 Delair and Ultra are owed by each entity. Entities owe money, or are owed money, from a
 “pool”. The entities share certain services including, (i) commercial insurance; (ii) health
 insurance, dental, life, etc.; (iii) workers compensation; and (iv) minor incidental purchases –
 supplies, etc. Shapes charges a management fee of $2,000 per month to Delair, Ultra and Accu-
 Weld. The entities have intercompany transactions relating to the following activities:

                  (a)     Delair purchases the majority of its material requirements from Shapes;

                  (b)     Accu-Weld rents space in Delair’s building to manufacture doors;

                  (c)     Delair invoices Accu-Weld for labor, utilities and supplies;

                  (d)     Shapes owns Ultra’s building; Shapes charges rent to Ultra;

                  (e)     Shapes owns Delair’s building; Shapes charges rent to Delair.

         Given the complexities involved in trying to unravel the intercompany claims as well as
 the benefits derived from and for each of the Debtors’ estates to the other, given the blanket liens
 on all of the assets, and further given the deminimus net effect on Class 5 Creditors as of the
 Effective Date, Intercompany Claims shall be extinguished. No distributions on account of
 Intercompany Claims will be made.

 C.      Unclassified Administrative Claims, Priority Tax Claims, Arcus Holders DIP Claims
         and Fee Claims


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         Administrative Claims, Priority Tax Claims, Arcus Holders DIP Claims and Fee Claims
 are not classified in the Plan. The treatment of and consideration to be received by holders of
 Allowed Administrative Claims, Priority Tax Claims, Arcus Holders DIP Claims and Fee Claims
 shall be in full and complete satisfaction, settlement, release and discharge of such Claims. The
 Debtors’ obligations in respect of such Allowed Administrative Claims, Priority Tax Claims,
 Arcus Holders DIP Claims and Fee Claims shall be satisfied in accordance with the terms of the
 Plan.

         Administrative Consolidation. For purposes of this joint plan and for the administrative
 convenience of the parties, holders of Claims in each Debtor case shall receive the identical
 treatment referenced below and each unimpaired class and impaired class shall be deemed to
 automatically apply in each case as if there were separate plans of reorganization filed in each
 case (provided that all Class 5 Claimants of all Debtors shall receive their Pro-Rata Share of the
 Class 5 Pool Escrow). Holders of Interests in each case shall be treated as more fully set forth
 below. THIS PLAN DOES NOT PROVIDE FOR THE SUBSTANTIVE CONSOLIDATION
 OF THE DEBTORS ON THE EFFECTIVE DATE but the holders of Claims in Class 5 shall be
 deemed filed against the consolidated Debtors and shall be deemed one Claim against or
 obligation of the consolidated Debtors and shall receive one distribution in accordance with
 Section 4.3 of the Plan. Based upon the liquidation analysis attached hereto and based upon the
 fact that each of the Debtors are liable for CIT-DIP Claims and Arcus DIP Claims, the Debtors
 believe the impact of the administrative (but not substantive) consolidation of the treatment of
 Class 5 Creditors will be nominal.

          Administrative Claims. Except to the extent the holder of an Allowed Administrative
 Claim agrees otherwise, each holder of an Allowed Administrative Claim shall be paid in respect
 of such Allowed Claim (a) the full amount thereof in Cash, as soon as practicable after the later
 of (i) the Effective Date and (ii) the date on which such Claim becomes an Allowed Claim, or
 upon such other terms as may be agreed upon by the holder of such Allowed Claim, or (b) such
 lesser amount as the holder of such Allowed Administrative Claim and the Debtors prior to the
 Effective Date and the Reorganized Debtors following the Effective Date might otherwise agree.
 The total amount of unpaid Allowed Administrative Claims shall be subject to approval by the
 Bankruptcy Court.

          Priority Tax Claims. Except as provided herein, each holder of an Allowed Priority Tax
 Claim shall be paid in respect of such Allowed Claim either (a) the full amount thereof, without
 post-petition interest or penalty, in Cash, as soon as practicable after the later of (i) the Effective
 Date and (ii) the date on which such Claim becomes an Allowed Claim or upon such other terms
 as may be agreed upon by the holder of such Allowed Claim and the Debtors prior to the
 Effective Date and the Reorganized Debtors following the Effective Date might otherwise agree,
 or (at the election of the Debtors or the Reorganized Debtors) (b) over a period of five (5) years
 from the Petition Date in equal monthly installments of principal plus interest at the rate of six
 percent per annum.

         Arcus Holders DIP Claims. To the extent not otherwise paid prior to Confirmation and
 conditioned upon the New LLC Interests being received by the Plan Funders, on the Effective
 Date, all Obligations then due and owing under the DIP Agreement shall be satisfied pursuant to
 the terms of new Exit Facility being provided by Arcus Funding as set forth in the Exit Facility

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 Letter attached to the Plan Supplement. At any time on or before the Effective Date, the Arcus
 Holders DIP Claims and Liens may be assigned (in whole or in part at election of Arcus
 Funding) to the Plan Funders. If such an assignment is made, then the Plan Funding Equity
 Commitments shall be adjusted to an amount equal to the amount of the Arcus Holders DIP
 Claims assigned to Plan Funders. Subject to the terms and conditions of the Plan Funding Debt
 Commitments, on or before the Effective Date, Arcus Funding shall fund their Plan Funding
 Debt Commitments (or assign such commitment to Plan Funders), or a portion thereof, and such
 amount shall be sufficient to satisfy in full the Obligations remaining due under the DIP
 Agreement as of the Effective Date, including, without limitation, all accrued and unpaid
 interest, costs and fees (including, without limitation, all costs, expenses and fees, including
 attorneys’ fees incurred in connection with the administration of the Chapter 11 Case and the
 Plan) shall be capitalized and added to the restated principal balance of the Exit Facility as of the
 Effective Date. The terms of the Exit Facility shall be set forth in the Plan Supplement. The Exit
 Facility shall be secured by an assignment of the Liens securing the DIP Facility and a first
 priority lien on all Property of the Reorganized Debtors (but subject to the liens and priorities in
 favor of CIT and The CIT-DIP Lenders that are acceptable to the Plan Funders as more fully set
 forth in the CIT Revolving Lenders Exit Commitment). Arcus Funding’s Lien shall attach to the
 Reserves, and Reserves Balances. The Liens and property interests of Arcus Funding shall
 remain perfected from and after the date of the Confirmation Order without the need of Arcus
 Funding to take any or further action or file or record any notes with respect thereto. The
 Confirmation Order shall be sufficient and conclusive notice and evidence of the grant, validity,
 perfection, and priority of Arcus Funding’s Liens without the necessity of filing or recording the
 Confirmation Order (other than as docketed in the Chapter 11 Case) or any financing statement,
 mortgage or other instrument or document which may otherwise be required under the law of
 any jurisdiction or the taking of any other action to validate or perfect the Arcus Funding’s
 Liens, or to entitle Arcus Funding to the priorities granted under the DIP Facility or herein
 (including, in respect of cash or deposits or investment property, any requirement that Arcus
 Funding have possession of or dominion and control over, any such cash in order to perfect an
 interest therein); provided that the Debtors or Reorganized Debtors shall execute and deliver to
 Arcus Funding and they may file or record financing statements or other instruments further to
 evidence or further to perfect the Arcus Funding’s Liens authorized, granted and perfected under
 the DIP Facility and hereby; and provided further that no such fling or recordation shall be
 necessary or required in order to create or perfect any such Lien.

        Fee Claims. Each holder of an Allowed Fee Claim shall receive 100% of the unpaid
 amount of such Allowed Fee Claim in Cash on the Effective Date or as soon as practicable after
 such Fee Claim becomes an Allowed Claim.

 D.      Classification and Treatment of Claims and Interests

         1.       Class 1 Other Priority Claims

        Each holder of an Allowed Other Priority Claim shall be paid in respect of such Allowed
 Claim (a) the full amount thereof in Cash, as soon as practicable after the later of (i) the Effective
 Date and (ii) the date on which such Claim becomes an Allowed Claim, or upon such other terms
 as may be agreed upon by the holder of such Allowed Claim, or (b) such lesser amount as the
 holder of such Allowed Other Priority Claim and the Debtors prior to the Effective Date and the

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 Reorganized Debtors following the Effective Date might otherwise agree. The holder of a Claim
 in this Class is not impaired and, therefore, not entitled to vote. Any Allowed Claim in this Class
 1 for paid time off shall be satisfied in the ordinary course of business consistent with Debtors’
 employment policies and practices.

         2.       Class 2 Miscellaneous Secured Claims

         To the extent there are any Allowed Secured Claims in this Class (and excluding any
 Secured Claims that are subject of a different treatment as provided in a separate Secured Class),
 each such Claim shall be deemed to be a separate subclass. At the option of the Debtors or the
 Reorganized Debtors, holders of Class 2 Claims shall receive (a) the return of the collateral
 securing such Allowed Secured Claim or (b) the Net Proceeds realized by the Debtors or
 Reorganized Debtors from the disposition of the collateral securing such Allowed Secured Claim
 up to the amount of their Secured Claim. The holder of a Claim in this Class is not impaired and,
 therefore, not entitled to vote.

         3.       Class 3 CIT-DIP Claim

         Class 3 CIT-DIP Claim. CIT (and, as applicable, the DIP Lenders) shall retain their
 liens on Property of the Estate of each Debtor and the terms and conditions of the CIT Revolving
 Loan DIP Agreements, the Interim Orders, and Final DIP Orders shall remain in full force and
 effect with the consent of the CIT-DIP Lenders. In the alternative at the election of the Plan
 Funders, to the extent not already paid in full, in Cash (by wire transfer of immediately available
 funds) prior to Confirmation, on the Effective Date, the CIT Revolving Credit Obligations shall
 be paid in full in Cash (by wire transfer of immediately available funds), with interest at the
 contract rate set forth in the CIT Revolving Loan DIP Agreements. Reorganized Debtors shall
 also post cash collateral with CIT in the amount of 105% on or before the Effective Date as
 described in the preceding sentence of the amounts outstanding under any undrawn letters of
 credit in the event Debtors elect to satisfy the CIT-DIP Claims. CIT and the CIT-DIP Lenders
 are impaired and, therefore, are entitled to vote. The Liens and property interests of The CIT-
 DIP Lenders shall remain perfected from and after the date of the Confirmation Order without
 the need of the CIT-DIP Lenders to take any or further action or file or record any noted with
 respect thereto. The Confirmation Order shall be sufficient and conclusive notice and evidence
 of the grant, validity, perfection, and priority of CIT-DIP Lenders’ Liens without the necessity of
 filing or recording the Confirmation Order (other than as docketed in the Chapter 11 Case) or
 any financing statement, mortgage or other instrument or document which may otherwise be
 required under the law of any jurisdiction or the taking of any other action to validate or perfect
 the CIT-DIP Lenders’ Liens, or to entitle CIT-DIP Lenders to the priorities granted under the
 CIT Revolving Loan DIP Agreements (as amended by the CIT Revolving Lenders Exit
 commitment) including, in respect of cash or deposits or investment property, any requirement
 that CIT or the CIT-DIP Lenders have possession of or dominion and control over, any such cash
 in order to perfect an interest therein); provided that the Debtors or Reorganized Debtors shall
 execute and deliver to CIT-DIP Lenders and they may file or record financing statements or
 other instruments further to evidence or further to perfect the CIT-DIP Lenders’ Liens
 authorized, granted and perfected under the CIT Revolving Loan DIP Agreements and hereby;
 and provided further that no such filing or recordation shall be necessary or required in order to
 create or perfect any such Lien.

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         4.       Class 4 Collateralized Insurance Program Claims

         This Class shall consist of the Allowed Secured Claims of those entities holding cash
 deposits or letters of credit which are acting as collateral security for the workers compensation
 insurance policies of the Debtors, each such Claim shall be deemed a separate subclass. Each
 holder of a Class 4 Claim shall retain on account of its Allowed Secured Claim the cash deposit
 or Letter of Credit securing the same; provided, however, that such entities shall, on the Effective
 Date, return to the Reorganized Debtors all collateral being held in excess of their Allowed
 Secured Claims (as determined by agreement of the parties or further Order of the Bankruptcy
 Court in the event Debtors or holders request an estimation of any holders’ claims under Section
 502(c) of the Bankruptcy Code). The holders of Claims in this Class are Impaired and therefore
 entitled to vote.

         5.       Class 5 General Unsecured Claims

         This Class shall consist of General Unsecured Claims. Unless otherwise agreed to by the
 holder of an Allowed General Unsecured Claim and the Plan Administrator, each holder of a
 General Unsecured Claim shall receive their Pro Rata share of the Class 5 Pool as follows: (i) on
 the Effective Date or as soon as practicable thereafter, each such holder shall receive its Pro Rata
 share of the Class 5 Pool on account of the amount of such Allowed Claim from the Class 5 Pool
 Escrow; (ii) from time to time each such holder shall receive its Pro Rata share of the Reserves
 Balances; and (iii) from time to time, each holder shall receive its Pro Rata Share of recoveries
 on account of the Avoidance Actions. In the event of the occurrence of an Alternative
 Transaction then, the additional consideration received upon the sale of the New LLC Interests in
 accordance with Bid Procedures attached to the Disclosure Statement as Exhibit “E” shall be
 added to the Class 5 Pool. On the Effective Date, all Class 5 Claims shall be transferred to and
 assumed by the Liquidation Trust and the Debtors and their Property, and the Reorganized
 Debtors and their property shall be free and clear of all Class 5 Claims, and be deemed released
 and discharged from all Class 5 Claims. All environmental claims set forth in Sections III and
 IV of Schedule 4.5 shall be treated as Class 5 general unsecured claims. The holders of Claims
 in this Class are impaired and therefore entitled to vote.

         6.       Class 6 Ben Claims

         This Class shall consist of the Ben Interests. On the Effective Date, all Class 6 Interests
 shall be deemed cancelled, null and void and of no force and effect. Accordingly, Class 6
 Interests are deemed to reject the Plan and, therefore, are not entitled to vote.

         7.       Class 7 Interests

        On the Effective Date, all Class 7 Interests shall remain unaffected, valid and binding
 such that 100% of the membership interests of Shapes L.L.C., Delair L.L.C., Accu-Weld, L.L.C.
 and Ultra L.L.C. shall continue to be owned by Shapes/Arch Holdings L.L.C.

         8.       Class 8 Claims

         On the Effective Date, the EPA shall receive the sum of $300,000.00 in full and complete
 satisfaction of their claims set forth in Section I of Schedule 4.5 attached hereto and the sum of

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 $25,000.00 in full and complete satisfaction of their claims set forth in Section II of Schedule 4.5
 attached hereto. The NJDEP shall receive the sum of $25,000.00 in full and complete
 satisfaction of their claims set forth in Section II, III and IV of Schedule 4.5 attached hereto.
 Funding for the distributions to this class will be made solely from proceeds of applicable
 insurance policies. Any other environmental claims set forth in Sections III and IV of Schedule
 4.5 (or as may be otherwise asserted by any Person, hereinafter, “Additional Environmental
 Claims”) shall be treated as General Unsecured Class 5 Claims. Accordingly, Class 8 is
 impaired and is entitled to vote.

         9.       Class 9 Claims

         This Class shall consist of the holders of Allowed Secured Real Estate tax claims relating
 to the Delair Real Estate, Accu-Weld Real Estate, Shapes Real Estate and Ultra Real Estate.
 Each holder shall be deemed to be a separate subclass. Each member of the subclass shall have
 an allowed secured claim in the amount of Real Estate taxes due and owing as of the Petition
 Date (including any interest due and owing but excluding any late charges or penalties in the
 amount as set forth in the Debtors’ Schedules and Statement of Financial Affairs) and such
 claims shall be paid (at the election of the Debtors) (i) in full, in cash on the Effective Date or (ii)
 in equal monthly installments of principal commencing on the first day of the first month
 following the Effective Date and continuing until the date which is sixty months from the
 Petition Date, with interest at the rate of six percent per annum. Reorganized Debtors shall have
 the right to prepay one or more of the Class 9 holders at any time without penalty. Class 9
 claims are impaired and entitled to vote.

         10.      Class 10 Claims

         This Class shall consist of the Allowed Secured Claims of the holders of purchase money
 security interests (which shall include lease agreements for equipment which contains a nominal
 or $1.00 purchase option) in the Debtors’ equipment which is being retained by the Reorganized
 Debtors and each such Claim shall be treated as a separate subclass. Each holder of a Claim in
 this Class shall continue to receive the monthly amortized payments set forth in the pre-petition
 agreements (at the non-default interest rate and without the allowance of any late payments or
 penalties) with any pre-petition arrearages to be added at the end of the contract and paid in one-
 lump payment on the thirtieth day following the natural un-accelerated due date under the
 applicable contract. Any holder of a purchase money security interest in equipment or a lessor of
 equipment (whose contract contains a nominal or $1.00 purchase option) who has not properly
 perfected their interest under the Uniform Commercial Code shall be treated as a Class 5
 unsecured creditor. The holder of Claims in this Class are impaired and, therefore, are entitled to
 vote.

         11.      Class 11 Claims

        Class 11 shall consist of holders of Allowed Secured Claims of the Debtors’ Shippers and
 Warehousemen (who are in possession of Property). Each holder shall be deemed to be a
 separate subclass. Each member of the subclass shall have an Allowed Secured Claim in the
 amount of the charges due and owing to them (by agreement of the parties or as allowed by
 Order of the Bankruptcy Court) and such claims shall be paid (at the election of the Debtors) (i)


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 in full (without interest) on the Effective Date or (ii) in 24 equal monthly installments of
 principal (commencing on the first day of the first month following the Effective Date and
 continuing on the first day of each month thereafter) with interest at the rate of six percent (6%)
 per annum. On the Effective Date any Property then in the possession of a Class 11 holder shall
 be released to the Reorganized Debtors. Class 11 claims are impaired and entitled to vote.

 E.      Means For Implementation Of The Plan

         1.       Corporate Action

          On the Effective Date and automatically and without further action, (i) each existing
 member (or manager of each operating entity) of the Debtors will be deemed to have resigned,
 (ii) the new board members/managers of the Reorganized Debtors shall be those identified in the
 Plan Supplement, and (iii) the Plan Administrator and Reorganized Debtors shall be authorized
 and empowered to take all such actions and measures necessary to implement and administer the
 terms and conditions of the Plan. Each Debtors’ Operating Agreement will be amended as of the
 Effective Date to the extent necessary to incorporate the provisions of the Plan and to prohibit
 the issuance of nonvoting equity securities as required by section 1123(a)(6) of the Bankruptcy
 Code. The rights and interests of the New LLC Interests shall be governed by and controlled
 pursuant to the terms and conditions of the Reorganized Debtors’ Operating Agreements, which
 shall be included in and filed with the Plan Supplement.

         2.       Liquidation Trust

         On the Effective Date the Debtors shall execute and deliver the Plan Administration
 Agreement, which shall create a trust, appoint the Plan Administrator, provide for the acceptance
 of the Reserves provided for in the Plan, and set forth the terms and conditions for distributions
 from such Reserves.

 From and after the Effective Date, the Liquidation Trust and the Plan Administrator shall hold
 and administer the following Reserves:

                  Class 5 Pool Escrow - $500,000 (or $2,000,000 in the event Class 5 votes to
                  accept the Plan as determined under Section 11 U.S.C. § 1126(c))

                  Plan Expense Reserve - $100,000

        All of the Reserves shall vest with the Plan Administrator on the Effective Date and any
 amounts remaining in the Reserves under Section 5.2 after distribution to Class 5 Creditors shall
 be donated to a charity of choice at the election of the Plan Administrator.

         3.       Plan Administrator

         On or before the Effective Date, the Plan Funders, with the consent of the Debtors shall
 appoint one Plan Administrator to serve as such pursuant to the Plan Administration Agreement
 (the “Plan Administration Agreement”). The Plan Administration Agreement is attached as an
 exhibit to the Plan Supplement. The Plan Administrator shall administer the Plan subject to the
 foregoing duties and powers, which shall include the following:

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                  (a)     To prosecute, compromise or settle objections to Claims and/or Interests
                          (disputed or otherwise) and to make or direct that distributions be made to
                          holders of Allowed Claims;

                  (b)     To make decisions regarding the retention or engagement of Professionals
                          and to pay, without court order, all reasonable fees and expenses incurred
                          after the Effective Date;

                  (c)     To make or direct distributions to holders of Allowed Claims and to
                          otherwise implement and administer the Reserves and the Plan;

                  (d)     To file with the Bankruptcy Court the reports and other documents and to
                          pay any and all fees required by the Plan or otherwise required to close the
                          Chapter 11 Case, including the preparation and filing of a motion for a
                          final decree (subject to the rights of Reorganized Debtors for the case to
                          remain open pending the completion of the prosecution of any Avoidance
                          Actions);

                  (e)     To set off amounts owed to the Debtors against any and all amounts
                          otherwise due to be distributed to the holder of an Allowed Claim under
                          the Plan;

                  (f)     To take all other actions not inconsistent with the provisions of the Plan
                          deemed necessary or desirable in connection with administering the Plan;
                          and

                  (g)     To prosecute and settle all Avoidance Actions.

         4.       Exit Financing and Equity Commitments

         At any time or before the Effective Date, the DIP Facility and the Arcus Holders DIP
 Claims may be assigned (in whole or in part at the election of Arcus Funding) to the Plan
 Funders. The terms and conditions of the Exit Facility shall be as set forth in the Exit Facility
 Letter, which shall be included in and filed with the Plan Supplement. The material terms of the
 Exit Facility are described above in the treatment afforded to the Arcus Holders DIP Claims. The
 principal amount of the Exit Facility upon the Effective Date shall be $25 million plus any and
 all unpaid interest, costs and fees that accrued prior to the Effective Date. Except as expressly set
 forth in the Plan, or the Plan Funding Debt Commitment or the Plan Funding Equity
 Commitments, working capital of the Debtors and Reorganized Debtors together with the
 proceeds of the Plan Funding Debt Commitment and the Plan Funding Equity Commitments
 shall be used for general working capital and capital expenditures of the Reorganized Debtors, to
 fund the Reserves, to pay the Allowed Administrative Claims, Allowed Fee Claims, Allowed
 Priority claims, and Allowed Other Priority Claims. In consideration for meeting its funding
 commitments under the Plan Funding Equity Commitments in the aggregate amount of no less
 than One Million Five Hundred Thousand Dollars ($1,500,000.00) and not more than five
 million five hundred thousand dollars ($5,500,000.00) (which will be paid in cash or by way of a
 conversion of the Arcus Holders DIP Claims assigned to the Plan Funders), each Plan Funder
 shall receive Pro Rata 100% of the New LLC Interests in the Reorganized Shapes/Arch Holdings

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 L.L.C. that are authorized and issued as of the Effective Date, subject to dilution from time to
 time upon the implementation of the Management Equity Incentive Plan, (at the election of the
 Plan Funders) which when fully implemented would result in the Plan Funders holding not less
 than [95]% of the equity interests of the Reorganized Shapes/Arch Holdings L.L.C. outstanding.

        In addition, at the election of the Plan Funders, funding for the Reorganized Debtors will
 also be provided by the CIT-DIP Lenders in accordance with the terms and conditions set forth
 in the CIT Revolving Lenders Exit Commitment. CIT’s lien position on the Reorganized
 Debtors’ Property shall be in accordance with the provisions set forth in the CIT Revolving
 Lenders Exit Commitment and a certain intercreditor agreement to be executed by the parties on
 or before the Effective Date.

         5.       Alternative Transaction and Break-Up Fee.

        Upon the occurrence of an Alternative Transaction Trigger, the New LLC Interests will
 be subject to a market process (as described herein below and in Exhibit “E” attached hereto) and
 ultimately, the New LLC interests may be issued to a party other than Plan Funders. In the event
 the Plan Funders are not the successful bidder upon the conclusion of that process then (i) Plan
 Funders shall receive the Break-Up Fee; and (ii) the Class 5 Pool shall be increased by the
 amount of at least $1,500,000.00 (as adjusted higher or lower) pursuant to the terms of the Bid
 Procedures set forth on Exhibit E to the Disclosure Statement.

         6.       Revesting

         Revesting. Except as otherwise provided for in the Plan, the Confirmation Order, Interim
 Orders and Final Orders, as applicable (including, without limitation, the liens being granted
 and/or retained by Arcus Funding, CIT and the CIT-DIP Lenders), on the Effective Date, without
 any further action, each of the Reorganized Debtors will be vested with all of the Property of the
 Estate (excluding all Avoidance Actions), free and clear of all Claims, Liens and Interests, and
 shall have all of the powers of a limited liability company under applicable law. As of the
 Effective Date, the Reorganized Debtors may operate their business and use, acquire and dispose
 of property and settle and compromise claims or interests without the supervision of the
 Bankruptcy Court or Plan Administrator, free of any restrictions of the Bankruptcy Code or
 Bankruptcy Rules.

         7.       Transfer of Real Estate

         On the Effective Date, (a) Reorganized Shapes L.L.C. may (at its election but subject to
 the terms of the CIT Revolving Lenders Exit Commitment and the Class 9 Real Estate Taxes to
 the extent not satisfied) either retain all real estate or (i) convey the Shapes Real Estate to Shapes
 Realty New Jersey L.L.C., (ii) convey the Delair Real Estate to Delair Realty New Jersey L.L.C.
 (or Shapes Realty New Jersey LLC); and (iii) convey the Ultra Real Estate to Ultra Realty New
 Jersey L.L.C.; and (b) Reorganized Accu-Weld L.L.C. may (at its election but subject to the
 terms of the CIT Revolving Lenders Exit Commitment and the Class 9 Real Estate Taxes to the
 extent not satisfied) either retain all real estate or convey the Accu-Weld Real Estate to Accu-
 Weld Realty Pennsylvania L.L.C., free and clear of all liens, claims and encumbrances other than
 the Class 10 Real Estate Claims.


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         8.       Distributions for Claims Allowed as of the Effective Date

         Except as otherwise provided herein or as ordered by the Bankruptcy Court, distributions
 to be made on account of Claims that are Allowed Claims as of the Effective Date shall be made
 on the Effective Date or as soon thereafter as is practicable. Any distribution to be made on the
 Effective Date pursuant to the Plan shall be deemed as having been made on the Effective Date if
 such distribution is made on the Effective Date or as soon thereafter as is practicable. Any
 payment or distribution required to be made under the Plan on a day other than a Business Day
 shall be made on the next succeeding Business Day.

         9.       Reserve Accounts

        As soon as practicable after the Effective Date, the Plan Administrator will establish and
 maintain the following reserve accounts:

                  (a)     Reserve for Plan Expenses. A reserve in an amount equal to the estimated
                          Plan Expenses (the “Plan Expense Reserve”), which upon the closing of
                          the Chapter 11 Case, the remainder, if any, will be released and distributed
                          to Reorganized Debtors. Other than the initial funding of the Reserve for
                          Plan Expenses in the amount of $100,000.00 (or with respect to legal fees
                          and other professional fees incurred by Reorganized Debtors’ at the
                          request of Plan Funders), Reorganized Debtors shall have no further
                          liability for such expenses.

        On or before the Effective Date, the Debtors will establish and maintain the following
 reserve accounts:

                  (b)     Reserve for Administrative Claims. A reserve (the “Administrative
                          Claims Reserve”) for Administrative Claims that may be asserted prior to
                          or on the Administrative Claims Bar Date; and

                  (c)     Reserve for Fee Claims. A reserve for payment of estimated unpaid Fee
                          Claims in an amount equal to the amount that the Debtors and Arcus
                          Holders anticipate will be incurred for fees and expenses by Professionals
                          retained in the Chapter 11 Case up to and including the Effective Date,
                          and the balance of such Cash, if any, remaining after all Fee Claims have
                          been resolved and paid, shall be released and distributed to the
                          Reorganized Debtors.

         10.      Reserves for Disputed Administrative, Fee, Priority Tax and Other Priority
                  Claims

         On or before the Effective Date, the Debtors shall establish and maintain a reserve in an
 amount equal to all Disputed Fee Claims, Disputed Administrative Claims, Disputed Priority Tax
 Claims and Disputed Other Priority Claims in an amount equal to what would be distributed to
 holders of Disputed Administrative, Disputed Fee, Disputed Priority Tax, and Disputed Other
 Priority Claims if their Disputed Claims had been deemed Allowed Claims on the Effective Date
 or on the Administrative Claims Bar Date or such other amount as may be approved by the

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 Bankruptcy Court upon motion of the Debtors; provided however, that the Debtors shall not be
 required to reserve funds on account of employee Claims for paid time off or vacation benefits of
 employees whose employment was continued by the Debtors or will be continued by the
 Reorganized Debtors. With respect to such Disputed Claims, if, when, and to the extent any such
 Disputed Claim becomes an Allowed Claim by Final Order, the relevant portion of the Cash held
 in reserve therefore shall be distributed by the Reorganized Debtors to the Claimant in a manner
 consistent with distributions to similarly situated Allowed Claims. The balance of such Cash, if
 any, remaining after all Disputed Administrative, Disputed Fee, Disputed Priority Tax, and
 Disputed Other Priority Claims have been resolved and distributions made in accordance with
 the Plan, shall be released and distributed to the Reorganized Debtors. No payments or
 distributions shall be made with respect to a Claim that is a Disputed Claim pending the
 resolution of the dispute by Final Order

         11.      Reserves for Disputed General Unsecured Claims

         On or as soon as practicable after the Effective Date, the Plan Administrator shall
 establish and maintain a reserve for all Disputed General Unsecured Claims. For purposes of
 establishing a reserve for Disputed General Unsecured Claims, Cash will be set aside as soon as
 practicable after the Effective Date equal to the amount that would have been distributed to the
 holders of Disputed General Unsecured Claims had their Disputed General Unsecured Claims
 been deemed Allowed Claims on the Effective Date or such other amount as may be approved by
 the Bankruptcy Court. With respect to such Disputed General Unsecured Claims, if, when, and to
 the extent any such Disputed General Unsecured Claim becomes an Allowed Claim by Final
 Order, the relevant portion of the Cash held in reserve therefore shall be distributed by the Plan
 Administrator to the Claimant in a manner consistent with distributions to similarly situated
 Allowed Claims. The balance of such Cash, if any, remaining after all Disputed General
 Unsecured Claims have been resolved and distributions made in accordance with the Plan, shall
 be released and re-distributed to holders of Allowed Claims. No payments or distributions shall
 be made with respect to a Claim that is a Disputed General Unsecured Claim pending the
 resolution of the dispute by Final Order. No payments or distributions shall be made with respect
 to post-Petition Date interest accruing on any Claim other than the Arcus Holders DIP Claims
 and CIT-DIP Claim. No payments or distributions shall be made with respect to Allowed Claims
 in an amount in excess of such Allowed Claims, except that the Class 5 Plan Funder Individual
 Release Consideration shall be distributed in addition to full payment of such Allowed Claims.

         12.      Claims Objection Deadline

        Notwithstanding D.N.J. LBR 3007-1, Objections to Claims shall be filed and served upon
 each affected Creditor no later than ninety (90) days after the Effective Date, provided however,
 that this deadline may be extended by the Bankruptcy Court upon motion of the Plan
 Administrator or Reorganized Debtors, with or without notice or hearing. Notwithstanding the
 foregoing, unless an order of the Bankruptcy Court specifically provides for a later date, any
 proof of, or other assertion of a Claim filed after the Confirmation Date shall be automatically
 disallowed as a late filed Claim, without any action by the Plan Administrator or the Reorganized
 Debtors, unless and until the party filing such Claim obtains the written consent of, the Plan
 Administrator or the Reorganized Debtors, as applicable, or obtains an order of the Bankruptcy
 Court upon notice to the Plan Administrator and Reorganized Debtors that permits the late filing

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 of the Claim, and the holder of such disallowed Claim shall be forever barred from asserting
 such Claim against the Liquidation Trust the Debtors, the Estate or Property, Reorganized
 Debtors or their property. In the event any proof of claim is permitted to be filed after the
 Confirmation Date pursuant to an order of the Bankruptcy Court, the Plan Administrator or
 Reorganized Debtors, as applicable, shall have sixty (60) days from the filing of such proof of
 claim or order to object to such Claim, which deadline maybe extended by the Bankruptcy Court
 upon motion of the Plan Administrator with or without notice or a hearing. To the extent a
 creditor files a proof of claim in excess of the amounts set forth in the Debtors’ Schedules and
 Statements of Financial Affairs (or seeking a different classification of the same or files a claim
 not set forth in the Debtors’ Schedules), it is most probable that an objection to the same will be
 filed by the Plan Administrator. However, the Plan provides that all claims in Class 5 will be
 transferred to the Liquidation Trust, and the Plan Administrator shall thereafter have the right to
 object to claims. The Debtors are uncertain as to the parameters that will be utilized by the Plan
 Administrator in determining whether to file objections to claims. As such, the ultimate
 distribution to Class 5 creditors is dependent upon the success of such objections and the
 ultimate recoveries on any Avoidance Actions.

         13.      Settlement of Disputed Claims

        Objections to Claims may be litigated to judgment or withdrawn, and may be settled with
 the approval of the Bankruptcy Court, except to the extent such approval is not necessary as
 provided in this section. After the Effective Date, and subject to the terms of this Plan, the Plan
 Administrator may settle any Disputed Claim where the result of the settlement or compromise is
 an Allowed Claim in an amount of $100,000 or less without providing any notice or obtaining
 an order from the Bankruptcy Court. All proposed settlements of Disputed Claims where the
 amount to be settled or compromised exceeds $100,000 shall be subject to the approval of the
 Bankruptcy Court after notice and an opportunity for a hearing.

         14.      Unclaimed Property

         If any distribution remains unclaimed for a period of ninety (90) days after it has been
 delivered (or attempted to be delivered) in accordance with the Plan to the holder of an Allowed
 Claim or Interest entitled thereto, such unclaimed property shall be forfeited by such holder,
 whereupon all right, title and interest in and to the unclaimed property shall be held in reserve by
 the Plan Administrator to be distributed Pro Rata to holders of Allowed Claims in such Class in
 accordance with this Plan, or if all Allowed Claims in such Class have been satisfied or reserved
 for in accordance with the Plan, then such unclaimed property (subject to Section 2 above) will
 be distributed to the Reorganized Shapes/Arch Holdings L.L.C.

         15.      Release of Liens

         Release and Preservation of Certain Liens. Except as otherwise provided in the Plan or in
 any contract, instrument or other agreement or document created in connection with the Plan,
 including, without limitation, the Liens securing the DIP Arcus Facility, the CIT-DIP Loan
 Facilities, the CIT Revolving Lenders Exit Commitment and the Exit Facility (which shall
 survive Confirmation and shall remain valid, enforceable and perfected Liens against property of
 the Reorganized Debtors, respectively) on the Effective Date, all other mortgages, deeds of trust,


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 Liens or other security interests against the Property of the Debtors’ estate shall be released, and
 all the right, title and interest of any holder of such mortgages, deeds of trust, Liens or other
 security interests shall revert to Reorganized Debtors and their successors and assigns.

         16.      Withholding Taxes

         Any federal, state, or local withholding taxes or other amounts required to be withheld
 under applicable law shall be deducted from distributions hereunder. All Persons holding Claims
 shall be required to provide any information necessary to effect the withholding of such taxes.

         17.      Fractional Cents

         Any other provision of this Plan to the contrary notwithstanding, no payment of fractions
 of cents will be made. Whenever any payment of a fraction of a cent would otherwise be called
 for, the actual payment shall reflect a rounding down of such fraction to the nearest whole cent.

         18.      Payments of Less than Twenty-Five Dollars

         If a cash payment otherwise provided for by this Plan with respect to an Allowed Claim
 would be less than twenty-five ($25.00) dollars (whether in the aggregate or on any payment date
 provided in this Plan), notwithstanding any contrary provision of this Plan, the Plan
 Administrator shall not be required to make such payment and such funds shall be otherwise
 distributed to holders of Allowed Claims in such Class in accordance with the Plan, or if all
 Allowed Claims in such Class have been satisfied or reserved for in accordance with the Plan,
 then such excess fractional dollars will be distributed to the Reorganized Debtors.

 F.      Treatment Of Executory Contracts And Unexpired Leases

         1.       Rejection of All Agreements

         Any and all pre-petition leases or executory contracts included on Debtors’ Schedule G
 not previously assumed by the Debtors (and not otherwise previously rejected, the subject of a
 motion to assume pending on the Confirmation Date or designated on Schedule 8.1 to this Plan,
 which schedule may be filed and amended at any time up to three days prior to the Confirmation
 hearing), shall be deemed rejected by the Debtors effective as of the Confirmation Date, but
 subject to the occurrence of the Effective Date. Any and all pre-petition leases and executory
 contracts not included on Debtors’ Schedule G not previously assumed or rejected by the
 Debtors, shall be deemed rejected by the Debtors effective as of the Confirmation Date, but
 subject to the occurrence of the Effective Date. The Debtors reserve the right to supplement any
 motion to assume or Schedule 8.1 to include or exclude additional contracts by way of a
 supplemental notice to parties to pre-petition leases and executory contracts at any time at least
 one (1) day prior to the confirmation hearing and the Debtors shall file the initial designation,
 without prejudice, at least two (2) business days prior to the deadline to file objections to
 confirmation of this Plan. Within ten days after the Effective Date, all cure amounts due and
 owing under any assumed contracts shall be paid and all cure amounts that are the subject of
 dispute shall be paid upon further agreement of the parties or upon entry of an order of the Court
 allowing such cure claims. No portion of any disputed cure claims shall be paid unless and until
 the amount of such claim is fixed by agreement of the parties or order of the Court.

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 Notwithstanding the foregoing, on the Effective Date, all insurance policies (regardless of the
 inception date of coverage) for any one or more Debtors which provide for any and all claims
 made or occurred arising from or related to any environmental laws of any Federal, State or local
 governmental entity or any claim asserted by a non-governmental entity for environmental
 claims (directly or by way of indemnity and whether under contract or tort law) shall be deemed
 assumed by Reorganized Debtors.

         Any motion filed to assume contracts or the Schedule 8.1 shall contain the cure amounts
 required to be paid upon assumption and all counter parties shall have ten (10) days from the
 filing of such motion or schedule within which to object to the stated cure amount or thereafter
 be deemed to have waived the right to object to the same.

         2.       Collective Bargaining Agreements

         The Debtors are party to the following collective bargaining agreements (each a “CBA”):
 (a) one CBA between Shapes, LLC (“Shapes”) and Delair, LLC (“Delair”), on the one hand, and
 Teamsters – Local 837 (“Local 837”), on the other hand; (b) one CBA between Ultra LLC
 (“Ultra”) and Local 837; and (c) three CBAs between Accu-Weld (“Accu-Weld”) and the United
 Independent Union (“UIU”) each covering separate groups of employees.

         Since the Petition Date, the Debtors (a) have submitted proposals to Local 837 and to the
 UIU for modifications to the CBAs with each of the Debtors, and (b) have met with Local 837
 three times regarding the Shapes/Delair CBA and with the UIU four times regarding the Accu-
 Weld CBA. To date, no final agreements have been reached with either Local 837 or the UIU
 regarding the Debtors’ proposed modifications. Negotiations with both Unions are continuing.
 The proposals include discussions regarding overtime, vacation, health and welfare obligations,
 pension obligations, wage adjustments, seniority rules, grievance procedures and other issues.

        The Debtors have advised both Local 837 and the UIU that, absent consensual
 modifications to the CBAs, the Debtors may decide to seek rejection of one or more of the CBAs
 and, if such determination is made, the Debtors will submit proposals and information in
 conformity with the Section 1113 requirements and seek the appropriate supplemental relief
 from the Court.

         3.       Claims for Damages

         All proofs of claim with respect to Claims arising from the rejection of executory
 contracts or leases shall, unless another order of the Bankruptcy Court provides for an earlier
 date, be filed with the Bankruptcy Court within thirty (30) days after the mailing of notice of
 Effective Date. All proofs of claim with respect to Claims arising from the rejection of executory
 contracts shall be treated as Class 5 General Unsecured Claims, as applicable, for purposes of a
 distribution pursuant to the Plan, unless and until the Person or Entity asserting such Claim
 obtains an order of the Bankruptcy Court upon notice to the Debtors, that allows the Claims in
 another Class under the Plan. Unless otherwise permitted by Final Order, any proof of claim that
 is not filed before the earlier of the Bar Date or the Confirmation Hearing (other than those
 Claims arising from the rejection of executory contracts or leases which may be filed within
 thirty (30) days after mailing of the notice of Effective Date as set forth above) shall


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 automatically be disallowed as a late filed Claim, without any action by the Plan Administrator,
 and the holder of such Claim shall be forever barred from asserting such Claim against the
 Debtors, the Estate, the Reorganized Debtors or property of Reorganized Debtors.

 G.      Effect of Confirmation of the Plan

        Without limiting any provision of the Plan, the Plan provides for the following release,
 exculpation, discharge and injunctions:

         1.       General Release and Injunction

         On the Effective Date, (i) the Debtors, the Estates, and their respective successors or
 assigns, including, without limitation, the Liquidation Trust, Class 5 General Unsecured Claims
 and any Person or Entity claiming a right in a derivative capacity on their behalf are deemed to,
 with respect to any and all derivative claims, whether or not asserted, the “Releasors”), will be
 deemed to have unconditionally and irrevocably released the Arcus Holders, Arcus Funding, the
 Plan Funders, CIT, CIT-DIP Lenders and the Debtors’ directors, managers and board observers,
 and all of their respective direct and indirect parents, subsidiaries and affiliates, together with
 each of their respective shareholders, members, managers, general partners, limited partners,
 officers, directors, employees, agents, representatives, attorneys and advisors or consultants
 (collectively, the “Released Parties”), as set forth more fully below, from any and all direct,
 indirect or derivative claims, obligations, suits, judgments, Liens, damages, rights, causes of
 action, liabilities, claims or rights of contribution and indemnification, and all other controversies
 of every type, kind, nature, description or character whatsoever, whether liquidated or
 unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
 unforeseen, then existing or thereafter arising, in law, equity or otherwise that are based in whole
 or in part upon any act or omission, transaction, event or other occurrence taking place from the
 beginning of the world to the Effective Date arising from or relating in any way, directly or
 indirectly, to the Debtors, its Properties, assets, operations or liabilities, the Chapter 11 Case, the
 Plan, or the Disclosure Statement; provided however, that the Releasors shall not be deemed to
 have released any rights to enforce the terms of the Plan or their rights to distributions
 thereunder. The Releasors hereby waive any rights or benefits under California Civil Code
 Section 1542, which provides that:

                  A general release does not extend to claims which the creditor
                  does not know or suspect to exist in his favor at the time of
                  executing the release, which if known by him must have
                  materially affected his settlement with Debtors and any rights
                  or benefits under similar laws. The Confirmation Order shall
                  specifically provide for the foregoing releases.

         The Debtors do not believe there are any causes of action against the Released Parties but
 the same is necessary and essential to (i) induce the Plan Funders to provide the exit facilities,
 equity contributions and other funding obligations under the Plan for all classes of creditors,
 without which funding the Plan could and would not be confirmed; and (ii) allow current
 management to continue in their separate capacities (if so provided) without the distraction and
 costs associated with potential or actual litigation


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         Injunction. On the Effective Date, the Debtors Claimants respecting the claims released
 above, and the Releasors shall be permanently enjoined from commencing, conducting or
 continuing in any manner, directly or indirectly, any suit, action or other proceeding of any kind,
 asserting any setoff, right of subrogation, contribution, indemnification or recoupment of any
 kind, directly or indirectly, or proceeding in any manner in any place inconsistent with the
 releases granted to the Released Parties pursuant to the Plan. The Confirmation Order shall
 specifically provide for such injunction.

         The Debtors do not believe and are not aware of any claims that may be asserted against
 the Released Parties. The Debtors are not aware of any facts that would give rise to such claims,
 but the Committee will nonetheless conduct, or cause to be conducted, an investigation prior to
 confirmation regarding the existence of claims against the Released Parties, if any, and, if such
 claims exist, the extent to which such claims have merit (but subject to all limitations contained
 in the Final DIP Orders).

         2.       Exculpation

         Exculpation. On the Effective Date, (a) the Debtors, and their direct and indirect parents,
 subsidiaries and affiliates, together with each of their respective present and former shareholders,
 members, managers, general partners, limited partners, officers, directors, employees, agents,
 representatives, attorneys and advisors or consultants (solely in their capacities as such) and (b)
 CIT-DIP Lenders, CIT, Arcus Funding, Arcus Holders and the Plan Funders and all of their
 respective direct and indirect parents, subsidiaries and affiliates, together with each of their
 respective present and former shareholders, members, managers, general partners, limited
 partners, officers, directors, employees, agents, representatives, attorneys and advisors or
 consultants (solely in their capacities as such) shall be deemed to release each of the other, and
 by all holders of Claims or Interests, of and from any claims, obligations, rights, causes of action
 and liabilities for any act or omission occurring solely during the period from the Petition Date
 through the Effective Date, generally, including, without limitation, any act or omission
 occurring during the Chapter 11 Case, the DIP Facility, the Exit Facility, the Plan Funding Debt
 Commitment, the Plan Funding Equity Commitments, CIT Revolving Loan DIP Agreements,
 CIT Revolving Lenders Exit Commitment, the Disclosure Statement, the pursuit of approval of
 the Disclosure Statement, the pursuit of confirmation of the Plan, the consummation of the Plan
 or the administration of the Plan or the property to be distributed under the Plan, except for acts
 or omissions which constitute willful misconduct or gross negligence, and all such Persons, in all
 respects, shall be entitled to rely upon the advice of counsel with respect to their duties and
 responsibilities under the Plan and under the Bankruptcy Code.

         3.       Discharge

         Except as otherwise provided for in this Plan, the Confirmation Order or any other order
 of the Bankruptcy Court (including, without limitation, the Interim Orders and Final DIP
 Orders), in accordance with section 1141(d) of the Bankruptcy Code, entry of the Confirmation
 Order acts as a discharge effective as of the Effective Date of all debts, Claims against, Liens on,
 and Interests in the Debtors, their assets and Property, which debts, Claims, Liens and Interests
 arose at any time before the entry of the Confirmation Order. The discharge of the Debtors shall
 be effective as to each Claim and Interest, regardless of whether a proof of Claim or Interest was

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 filed or whether the Claim or Interest was Allowed or whether the holder of the Claim or Interest
 votes to accept the Plan. On the Effective Date, as to each and every discharged Claim and
 Interest, any holder of such Claim or Interest shall be precluded from asserting such Claim or
 Interest against the Debtors or Reorganized Debtors or their assets or properties.

         4.       Injunction

         On and after the Confirmation Date, except to enforce the terms and conditions of the
 Plan before the Bankruptcy Court (or as permitted under the Interim Orders, Final DIP Orders,
 CIT Revolving Lenders Exit Commitment and Exit Facility) and except to the extent the holders
 of Additional Environmental Claims are seeking to recover under any and all applicable
 insurance policies (and in all cases may not assert any Claims against Reorganized Debtors), all
 Persons or Entities who have held, hold or may hold any Claim against or Interest in the Debtors
 are, with respect to any such Claim or Interest, permanently enjoined from and after the
 Confirmation Date from: (a) commencing, conducting or continuing in any manner, directly or
 indirectly, any suit, action or other proceeding of any kind (including, without limitation, any
 proceeding in a judicial, arbitral, administrative or other forum) against the Debtors or
 Reorganized Debtors or Plan Administrator or the Liquidation Trust or any of their properties, or
 any direct or indirect transferee of any property of, or direct or indirect successor in interest to,
 any of the foregoing Persons or Entities and all of their respective direct and indirect parents,
 subsidiaries and affiliates, together with each of their respective present and former shareholders,
 members, managers, general partners, limited partners, officers, directors, employees, agents,
 representatives, attorneys and advisors or consultants, or any property of any of the foregoing
 (collectively, the “Protected Parties”); (b) enforcing, levying, attaching (including, without
 limitation, any pre-judgment attachment), collecting or otherwise recovering by any manner or
 means whether directly or indirectly, against any of the Protected Parties of any judgment,
 award, decree or order; (c) creating, perfecting or otherwise enforcing in any manner, directly or
 indirectly, any encumbrance of any kind against any of the Protected Parties; (d) asserting any
 right of setoff, subrogation, or recoupment of any kind, directly or indirectly, against any
 obligation due to any of the Protected Parties; and (e) taking any actions in any place and in any
 manner whatsoever that do not conform to or comply with the provisions of the Plan.

         5.       Insurance

          This Plan shall not diminish or impair the enforceability of any insurance policy, right or
 claim that may cover Claims against the Debtors (including, without limitation, its officers or
 directors) or any other person or entity. Likewise, the Plan and Confirmation Order shall not
 impair any insurance carrier’s rights, claims, defenses or disputes under any policy and shall not
 act to increase or extend any rights of the Debtors or the carriers.

 H.      Retention of Jurisdiction

         The Bankruptcy Court shall have exclusive jurisdiction over all matters arising out of,
 and related to, the case, the Plan, and the Liquidation Trust to the fullest extent permitted by law
 pursuant to, and for the purposes of Section 105(a) and Section 1142 of the Bankruptcy Code
 and for the other purposes described in Article X of the Plan.



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 I.      Miscellaneous Provisions

         1.       Pre-Confirmation Modification

         On notice to and opportunity to be heard by the United States Trustee, the Plan may be
 altered, amended or modified by the Debtors before the Confirmation Date as provided in section
 1127 of the Bankruptcy Code; provided, however, that any such amendment or modification of
 the Plan must be approved in writing by the Plan Funders (and CIT-DIP Lenders to the extent the
 same is material to the CIT-DIP Lenders).

         2.       Post-Confirmation Immaterial Modification

         With the approval of the Bankruptcy Court and on notice to and an opportunity to be
 heard by the United States Trustee and without notice to holders of Claims and Interests, the Plan
 Administrator, may, insofar as it does not materially and adversely affect the interest of holders
 of Claims, correct any defect, omission or inconsistency in the Plan in such manner and to such
 extent as may be necessary to expedite consummation of this Plan; provided, however, that any
 such amendment or modification of the Plan must be approved in writing by the Plan Funders
 (and CIT-DIP Lenders to the extent the same is material to the CIT-DIP Lenders).

         3.       Post-Confirmation Material Modification

         On notice to and an opportunity to be heard by the United States Trustee, the Plan may be
 altered or amended after the Confirmation Date by the Reorganized Debtors or the Plan
 Administrator in a manner which, in the opinion of the Bankruptcy Court, materially and
 adversely affects holders of Claims, provided that such alteration or modification is made after a
 hearing and otherwise meets the requirements of section 1127 of the Bankruptcy Code; provided,
 however, that any such amendment or modification of the Plan must be approved in writing by
 the Plan Funders (and CIT-DIP Lenders to the extent the same is material to the CIT-DIP
 Lenders).

         4.       Withdrawal or Revocation of the Plan

         The Debtors reserve the right to revoke or withdraw the Plan prior to the Confirmation
 Date. If the Debtors revoke or withdraw the Plan, or if Confirmation or Effective Date does not
 occur, then, (a) the Plan shall be null and void in all respects, (b) any settlement or compromise
 embodied in the Plan (including the fixing or limiting to an amount certain any Claim or Class of
 Claims), assumption or rejection of executory contracts or leases affected by the Plan, and any
 document or agreement executed pursuant to the Plan, shall be deemed null and void, and (c)
 nothing contained in the Plan shall (i) constitute a waiver or release of any Claims by or against,
 or any Interests in, Debtors or any other Person, (ii) prejudice in any manner the rights of
 Debtors or any other Person, or (iii) constitute an admission of any sort by the Debtors or any
 other Person. To the extent the Class 3 claim of CIT is satisfied on the Effective Date, all
 references to CIT in this Plan (other than those pertaining to interest and any release, injunctive,
 exculpation or similar or related provisions) shall be deemed null and void.




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         5.       Payment of Statutory Fee

        All fees payable pursuant to Section 1930 of Title 28 of the United States Code shall be
 paid on the Effective Date (if due) or by the Plan Administrator when otherwise due out of the
 reserve set aside on the Effective Date by the Plan Administrator to fund Plan Expenses.

         6.       Successors and Assigns

        The rights, benefits and obligations of any Person or Entity named or referred to in the
 Plan shall be binding on, and shall inure to the benefit of, the heirs, executors, administrators,
 successors and/or assigns of such Person or Entities.

         7.       Exemption From Transfer Taxes

         Pursuant to Bankruptcy Code section 1146(a): (a) the issuance, transfer, or exchange of
 notes or equity securities under the Plan; (b) the creation of any mortgage, deed of trust, lien,
 pledge, or other security interest; (c) the making or assignment of any contract, lease or sublease;
 or (d) the making or delivery of any deed or other instrument of transfer under, in the furtherance
 of, or in connection with, the Plan, including, without limitation, the transfers to be made under
 Section 5.7 of the Plan, any merger agreements, agreements of consolidation, restructuring,
 disposition, liquidation, or dissolution, stock purchase agreements, stockholders agreements or
 stockholders rights agreements; deeds, bills of sale, or transfers of tangible property will not be
 subject to any stamp tax, or other similar tax or any tax held, to be a stamp tax or other similar
 tax by applicable law.

 J.      Effectiveness of the Plan

        The Plan shall not become effective unless and until each of the following conditions has
 been satisfied in full or waived by the Debtors and the Plan Funders:

         (a)      The Bankruptcy Court shall have entered the Confirmation Order by May 31,
                  2008 or June 20, 2008 in the event of the occurrence of an Alternative
                  Transaction (or such other date as agreed to in the sole discretion of the Plan
                  Funders) and such Order shall be in form and substance satisfactory to the
                  Debtors, Arcus Funding, Arcus Holders and Plan Funders;

         (b)      All escrow and reserve accounts described in the Plan have been adequately
                  funded; and

         (c)      The Confirmation Order shall have become a Final Order and the Effective Date
                  shall be no later than June 10, 2008 (June 30, 2008 in the event of an Alternative
                  Transaction).

         (d)      Closing has occurred under the terms of the exit facilities being provided by
                  Arcus Funding and CIT-DIP Lenders and the Plan Funding Equity Commitments
                  have been provided and the aggregate funds available under the same are
                  sufficient to satisfy the cash requirements necessary to fund this Plan in
                  accordance with its terms.

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         Except as set forth in Sections 9.1 and 9.2 of the Plan with respect to matters pertaining
 to the CIT-DIP Lenders, the conditions set forth in Article 9.1 and Article 9.2 of this Plan may be
 waived, in whole or in part, by the Debtors and Plan Funders without any notice to any other
 parties in interest or the Bankruptcy Court and without a hearing. The failure to satisfy or waive
 any condition to the Confirmation Date or the Effective Date may be asserted by the Debtors and
 Plan Funders in their sole discretions regardless of the circumstances giving rise to the failure of
 such condition to be satisfied (including any action or inaction by the Debtors and Plan Funders
 in their sole discretion). The failure of the Debtors and Plan Funders to exercise any of the
 foregoing rights shall not be deemed a waiver of any other rights, and each such right shall be
 deemed an ongoing right which may be asserted at any time.

 K.      Confirmation Without Acceptance of All Impaired Classes: The “Cramdown”
         Alternative

         Section 1129(b) of the Bankruptcy Code provides that a plan can be confirmed even if it
 has not been accepted by all impaired classes as long as at least one impaired class of Claims has
 accepted it. The Court may confirm the Plan at the request of the Debtors notwithstanding the
 Plan’s rejection (or deemed rejection) by impaired Classes as long as the Plan “does not
 discriminate unfairly” and is “fair and equitable” as to each impaired Class that has not accepted
 it. A plan does not discriminate unfairly within the meaning of the Bankruptcy Code if a
 dissenting class is treated equally with respect to other classes of equal rank.

         A plan is fair and equitable as to a class of secured claims that rejects such plan if the
 plan provides (1)(a) that the holders of claims included in the rejecting class retain the liens
 securing those claims, whether the property subject to those liens is retained by the debtor or
 transferred to another entity, to the extent of the allowed amount of such claims, and (b) that
 each holder of a claim of such class receives on account of that claim deferred cash payments
 totaling at least the allowed amount of that claim, of a value, as of the effective date of the plan,
 of at least the value of the holder’s interest in the estate’s interest in such property; (2) for the
 sale, subject to Section 363(k) of the Bankruptcy Code, of any property that is subject to the liens
 securing the claims included in the rejecting class, free and clear of the liens, with the liens to
 attach to the proceeds of the sale, and the treatment of the liens on proceeds under clause (1) or
 (2) of this paragraph; or (3) for the realization by such holders of the indubitable equivalent of
 such claims.

        A plan is fair and equitable as to a class of unsecured claims which rejects a plan if the
 plan provides (1) for each holder of a claim included in the rejecting class to receive or retain on
 account of that claim property that has a value, as of the effective date of the plan, equal to the
 allowed amount of such claim; or (2) that the holder of any claim or interest that is junior to the
 claims of such rejecting class will not receive or retain on account of such junior claim or interest
 any property at all.

         A plan is fair and equitable as to a class of unsecured claims which rejects a plan if the
 plan provides (1) for each holder of an interest included in the rejecting class receive or retain on
 account of that interest property that has a value, as of the effective date of the plan, equal to the
 greatest of the allowed amount of any fixed liquidation preference to which such holder is
 entitled, any fixed redemption price to which such holder is entitled, or the value of such interest;

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 of (2) that the holder of any interest that is junior to the interest of such rejecting class will not
 receive or retain under the plan on account of such junior interest any property at all.

         The votes of holders of the Ben Interests (Class 6) in Shapes/Arch Holdings, LLC are not
 being solicited because such holders are not entitled to receive or retain under the Plan any
 interest in property on account of their Interests. Such Class therefore is deemed to have rejected
 the Plan pursuant to Section 1126(g) of the Bankruptcy Code. Accordingly, the Debtors are
 seeking confirmation of the Plan pursuant to Section 1129(b) of the Bankruptcy Code with
 respect to such Class, and may seek confirmation pursuant thereto as to the other Classes if such
 other Classes vote to reject the Plan. Notwithstanding the deemed rejection by such Class or the
 rejection by any other Class, the Debtors believe that all Classes are being treated fairly and
 equitably under the Bankruptcy Code. The Debtor therefore believe the Plan may be confirmed
 despite its deemed rejection by these Classes.

 L.      Provisions Regarding Corporate Governance and Management of the Reorganized
         Debtors

         (a)      Officers and Managers of Reorganized Shapes/Arch Holdings LLC.
                  [as set forth in the Plan Supplement]

         (b)      Officers and Managers of Reorganized Shapes L.L.C.
                  [as set forth in the Plan Supplement]

         (c)      Officers and Managers of Reorganized Delair L.L.C.
                  [as set forth in the Plan Supplement]

         (d)      Officers and Managers of Reorganized Accu-Weld L.L.C.
                  [as set forth in the Plan Supplement]

         (e)      Officers and Managers of Reorganized Ultra L.L.C.
                  [as set forth in the Plan Supplement]

 M.      Alternative Transaction

        In the event Class 5 votes to reject the Plan and the Bankruptcy Court denies
 confirmation of this Plan based on the fact that the treatment of Class 5 is not fair and equitable
 for purposes of 11 U.S.C. § 1129(b)(2)(B)(ii) and the holding in the Supreme Court case of Bank
 of Am. Nat’l Trust & Sav. Assoc. v 203 N. LaSalle St. Partnership (“LaSalle”), 526 U.S. 434
 (1999) requires that the New LLC Interests to be vested in the Plan Funders be exposed to the
 market, then, the Plan contemplates an additional market test process to meet the requirements of
 the same (and a continuation of the Confirmation Hearing).

         The Alternative Transaction contemplates a brief marketing period of the New LLC
 Interests being transferred under the Plan to the Plan Funders. In the event that scenario results
 in someone other than the Plan Funder being entitled to the transfer of New LLC Interests under
 this Plan then, the treatment of Arcus Funding and CIT-DIP Lenders will be deemed amended by
 the terms of the bidding procedures contained and set forth in the Schedule attached hereto as
 Exhibit “E”. In addition, it is possible that the recovery to Class 5 Creditors could be enhanced

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 or decreased if such process occurs although, no guarantee of the same is being made hereby.
 For a complete description of the possible Alternate Transaction, see Schedule “E” attached
 hereto.

         11 U.S.C. §1125(a)(1) provides in part that adequate information for purposes of a
 disclosure statement “need not include such information about any other possible or proposed
 plan . . . Without waiving their rights (including the right to request the deletion of this
 paragraph), Debtors advise that on or about April 18, 2008, Arch Acquisition I, LLC filed a
 Motion (1) Terminating Debtors' Exclusive Periods to File Plan and Solicit Acceptances (2)
 Adjourning Hearing (3) Providing for a Joint Balloting Process (Docket No. 182, “Arch
 Termination Motion”). Appended to the Arch Termination Motion was a draft Plan of
 Reorganization similar to, but not identical to, the Plan (“Arch Plan”). The Arch Plan purports
 to increase the distribution to Class 5 Unsecured Creditors to the amount of five million
 ($5,000,000.00) dollars. However, no information has been provided regarding the funding of
 the same (which will require in excess of ninety million in cash) or any other requirements or
 conditions that may be applicable to obtain confirmation of that proposal and therefore no
 representations are being made as to whether that proposal can actually be consummated. The
 current Plan has commitments for exit financing which Debtors believe offers more certainty and
 less risk than the Arch Plan although it also offers Class 5 a potential lower recovery. Debtors
 believe the certainty of the Plan outweighs the potential for a greater recovery under the Arch
 Plan. Further, the Plan provides for a competitive process should Class 5 creditors decide to
 reject the Plan and if the Court determines that a competitive process is necessary under Bank of
 America National Trust and Savings Association v. 203 LaSalle St. Partnership, 526 U.S. 434
 (1999).

                    VII.     CERTAIN RISK FACTORS TO BE CONSIDERED

      HOLDERS OF IMPAIRED CLAIMS AND INTERESTS AGAINST AND IN THE
 DEBTORS SHOULD READ AND CONSIDER CAREFULLY THE FACTORS SET FORTH
 BELOW AS WELL AS THE OTHER INFORMATION SET FORTH IN THIS DISCLOSURE
 STATEMENT (AND THE DOCUMENTS DELIVERED TOGETHER HEREWITH AND/OR
 INCORPORATED BY REFERENCE), PRIOR TO VOTING TO ACCEPT OR REJECT THE
 PLAN. THESE RISK FACTORS SHOULD NOT, HOWEVER, BE REGARDED AS
 CONSTITUTING THE ONLY RISKS INVOLVED IN CONNECTION WITH THE PLAN
 AND ITS IMPLEMENTATION.

         The Disclosure Statement and the material incorporated by reference herein (the
 “Incorporated Materials”) include “forward-looking statements” as defined in Section 27A of the
 Securities Act and Section 21E of the Securities Exchange Act of 1934. All statements other
 than statements of historical facts included in this Disclosure Statement and the Incorporated
 Materials regarding the Debtors’ financial position, and plans and objectives, including, but not
 limited to, statements using words such as “anticipates,” “expects,” “estimates,” “believes,” and
 “likely” are forward-looking statements.

         The ultimate recoveries under the Plan to holders of Class 5 Claims depend, in part, upon
 the Plan Administrator’s success in objecting to Disputed Claims.



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 A.      Taxation

         Pursuant to the Plan, each Holder of an Allowed Claim or Interest receiving cash or
 property under the Plan will recognize gain or loss equal to the difference between the amount of
 any cash and the fair market value of any other property received by such holder and the basis
 which the holder has in such Allowed Claim or Interest. The character of any recognized gain or
 loss will depend upon the status of the holder, the nature of the Claim or Interest and the period
 for which the Claim or Interest was held by the holder. The basis of a holder in any property
 received under the Plan will be the fair market value of such property on the Effective Date of
 the Plan, and the holding period in such property received will begin on the Effective Date.

         The federal, state and local tax consequences of the Plan are complex and, in some cases,
 uncertain. In addition, the foregoing summary does not discuss all aspects of federal income
 taxation that may be relevant to a particular holder of an Allowed Claim or Interest in light of its
 particular circumstances and income tax situation. Accordingly, each holder of a Claim or
 Interest is strongly urged to consult with its own tax advisor regarding the federal, state, and
 local tax consequences of the Plan.

 B.      Distributions to Holders of Claims

         The Plan is based on making Distributions as provided under the priority scheme set forth
 in the Bankruptcy Code. To this end, the Plan provides that all Allowed Administrative Claims,
 Priority Claims and Secured Claims will be paid or satisfied in full prior to the making of
 Distributions to holders of Allowed Claims in Class 5.

        The amount of Cash available for distribution to holders of Allowed Claims in Class 5
 will depend upon a number of factors, including, but not limited to, the following: the cost of
 administering the Liquidation Trust; the success of any objections to claims and the recoveries
 on any Avoidance Actions. The Debtors are unable at this time to estimate with any certainty the
 ultimate resolution of such factors, and thus, the amount of available cash that ultimately will be
 available for Distribution to holders of Allowed Claims in Class 5.

        In addition, the payment of a Distribution to each holder of an Allowed Claim in Class 5
 will depend upon the Claims reconciliation and resolution process implemented by the Plan
 Administrator.

 C.      Objections to Classification

         Section 1122 of the Bankruptcy Code provides that a plan may place a claim or equity
 interest in a particular class only if such claim or equity interest is substantially similar to the
 other claims or equity interests of such class. The Debtors believe that the classification of
 Claims and Interests under the Plan complies with the requirements set forth in the Bankruptcy
 Code.

 D.      Inherent Uncertainty of Financial Projections

       The financial projections attached hereto as Exhibit “C” are based upon numerous
 assumptions that are an integral part of such financial projections, including Confirmation and

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 consummation of the Plan in accordance with its terms, the anticipated future performance of the
 Reorganized Debtors, industry performance, general business and economic conditions,
 competition, adequate financing, absence of material contingent or unliquidated litigation or
 indemnity claims, and other matters, many of which are beyond the control of the Reorganized
 Debtors and some or all of which may not occur. In addition, unanticipated events and
 circumstances occurring subsequent to the date of this Disclosure Statement may affect the
 actual financial results of the Reorganized Debtors’ operations. These variations may be
 material and may adversely affect the ability of the Reorganized Debtors to pay the obligations
 owing under the Plan and other post-Effective Date indebtedness. Because the actual results
 achieved throughout the periods covered by the financial projections may differ from the
 projected results, the financial projections should not be relied upon as a guaranty,
 representation, or other assurance of the actual results that will occur.

 E.      Certain Bankruptcy Law Considerations

         1.       Risk of Non-Confirmation of the Plan

         Although the Debtors believe that the Plan will satisfy all requirements necessary for
 confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will
 reach the same conclusion. Moreover, there can be no assurance that modifications of the Plan
 will not be required for confirmation or that such modifications would not necessitate the
 resolicitation of votes.

         2.       Risk of Non-Occurrence of the Effective Date

        Even if all Classes of Claims and Interests that are entitled to vote accept the Plan, the
 Plan may not become effective. The Plan sets forth conditions to the occurrence of the Effective
 Date that could remain unsatisfied.

         3.       Appeal of the Confirmation Order

        The Confirmation Order may be the subject of an appeal. If the Confirmation Order is
 vacated on appeal (assuming an appeal could be taken and such appeal would not be rendered
 moot due to substantial consummation of the Plan prior to prosecution), the Plan would fail.

      VIII. ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE
                                  PLAN

         If the Plan is not confirmed and consummated, the alternatives to the Plan include (i)
 liquidation of the Debtors under chapter 7 of the Bankruptcy Code or (ii) an alternative plan of
 reorganization.

 A.      Liquidation Under Chapter 7

        If no plan is confirmed, the Debtors cases may be converted to cases under Chapter 7 of
 the Bankruptcy Code, pursuant to which a trustee would be elected or appointed to liquidate the
 Debtors’ property for distribution in accordance with the priorities established by Chapter 7 of
 the Bankruptcy Code. A discussion of the effects that a Chapter 7 liquidation would have on the

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 recoveries of holders of Claims and Interests is set forth in the Liquidation Analysis attached
 here as Exhibit “D”. The Debtors believe that liquidation under Chapter 7 would result in no
 distributions being made to creditors other than Secured Creditors because (i) the Debtors’ assets
 would be sold or otherwise disposed of in a forced sale situation over a short period of time, (ii)
 additional administrative expenses would be incurred, and (iii) additional expenses and claims,
 some of which would be entitled to priority, would be generated during the liquidation and from
 the rejection of leases and other executory contracts in connection with a termination of the
 Debtors’ businesses. For a further analysis of this issue please refer to Exhibit “D” attached
 hereto.

 B.      Alternative Plan of Reorganization

         If the Plan is not confirmed, the Bankruptcy Court could confirm a different plan. The
 Plan is a reorganization of the Debtors’ business and a different plan might involve some other
 form of reorganization or liquidation of the Debtors’ assets. The Debtors believe that the Plan,
 as described herein, enables creditors to realize the highest and best value under the
 circumstances. The Debtors believe that any liquidation of the Debtors’ assets or alternative
 form of Chapter 11 plan is a much less attractive alternative to creditors than the Plan because of
 the far greater returns and certainty provided by the Plan. Other alternatives could involve
 diminished recoveries, significant delay, uncertainty, and substantial additional administrative
 costs. The Debtors believe that their Plan provides the best recovery to their creditors by
 providing them with a distribution of cash rather than diminished recoveries following a
 liquidation of its assets or distribution of other property.

      IX.      CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

 A.      Federal Income Tax Consequences in General

         The following summary addresses certain material federal income tax consequences of
 the implementation of the Plan to holders of Allowed Claims in Class 2, 3, 4, 5, 9 and holders of
 Allowed Interests in Class 7 and 8. The summary is based upon the Debtors’ interpretation of
 the Internal Revenue Code of 1986, as amended (the “Tax Code”), applicable Treasury
 Regulations, judicial authority and current administrative rulings and pronouncements of the
 Internal Revenue Service (“IRS”), all of which are subject to change, possibly with retroactive
 effect. Due to the complexity of certain aspects of the Plan and differences in the nature of the
 Claims and Interests of the various holders thereof, their taxpayer status, residence and methods
 of accounting and prior actions taken by such holders with respect to their Claims and Interests,
 the tax consequences described below are general in nature and are subject to significant
 considerations applicable to each holder of an Allowed Claim in 5 or an Allowed Interest in
 Class 6 or 7.

         The federal income tax consequences of the Plan and the formation and operation of the
 Reorganized Debtors and the Liquidation Trust, as well as distributions from the Liquidation
 Trust, are complex and subject to significant uncertainties. The Debtors’ interpretation of the
 federal income tax consequences set forth herein are not binding on the IRS, and the Debtors
 have not requested, and do not intend to request, an administrative ruling from the IRS with
 respect to any of the federal income tax aspects of the Plan. Consequently, there can be no


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 assurance that the treatment described in this Disclosure Statement will be acceptable to the IRS.
 No opinion of counsel has either been sought or obtained with respect to the federal, state, local
 or foreign tax aspects of the Plan. Legislative, judicial or administrative changes or
 interpretations may be forthcoming that could alter or modify the statements and conclusions set
 forth herein. Additionally, changes in the facts or circumstances relating to the consummation or
 operation of the Plan or the formation or operation of the Reorganized Debtors or the Liquidation
 Trust could likewise affect the tax consequences to such parties.

         This summary does not address foreign, state or local tax consequences of the Plan, the
 Reorganized Debtors or the Liquidation Trust, nor does it purport to address all of the federal
 income tax consequences of the Plan, Reorganized Debtors or the Liquidation Trust. This
 summary also does not purport to address the federal income tax consequences of the Plan,
 Reorganized Debtors or the Liquidation Trust to taxpayers subject to special treatment under the
 federal income tax laws, such as banks, governmental authorities or agencies, pass-through
 entities, broker-dealers, tax-exempt entities, financial institutions, insurance companies, S
 corporations, small business investment companies, mutual finds, regulated investment
 companies, foreign corporations, and foreign persons.

         ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN MATERIAL
 FEDERAL INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES
 ONLY AND IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE
 BASED UPON THE INDIVIDUAL CIRCUMSTANCES OF A HOLDER OF A CLAIM OR
 INTEREST. ANY U.S. TAX ADVICE CONTAINED IN THIS DISCLOSURE STATEMENT
 (I) IS NOT INTENDED TO BE USED, AND CANNOT BE USED, BY ANY PERSON FOR
 THE PURPOSE OF AVOIDING U.S. FEDERAL TAX PENALTIES IMPOSED ON SUCH
 PERSON AND (II) WAS WRITTEN IN CONNECTION WITH THE MARKETING OR
 PROMOTION OF THE PLAN. IT IS STRONGLY RECOMMENDED THAT EACH
 HOLDER OF A CLAIM OR INTEREST CONSULT ITS OWN TAX ADVISOR FOR THE
 FEDERAL, STATE, LOCAL AND OTHER TAX CONSEQUENCES APPLICABLE TO IT
 UNDER THE PLAN.

 B.      Federal Income Tax Consequences of the Liquidation Trust

         1.       Consequences of the Liquidation Trust

         Pursuant to the Plan, certain holders of Allowed Claims will receive beneficial interests
 in the Liquidation Trust. The Liquidation Trust will be organized for the primary purpose of
 liquidating the assets transferred to it with no objective to continue or engage in the conduct of a
 trade or business, except to the extent reasonably necessary to, and consistent with, the
 liquidating purpose of the Liquidating Trust. Thus, the Liquidation Trust is intended to be
 classified for federal income tax purposes as a “liquidating trust” within the meaning of Treasury
 Regulation Section 301.7701-4(d). The provisions of the Plan Administration Agreement and
 the Plan are intended to satisfy the guidelines for classification as a liquidating trust that are set
 forth in Revenue Procedure 94-45-, 1994-2 C.B. 684. Under the Plan, all parties are required to
 treat the Liquidation Trust as a liquidating trust, subject to contrary definitive guidance from the
 IRS.



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         No request for a ruling from the IRS will be sought on the classification of the
 Liquidation Trust. Accordingly, there can be no assurance that the IRS would not take a contrary
 position to the classification of the Liquidation Trust. If the IRS were to challenge successfully
 the classification of the Liquidation Trust as a grantor trust, the federal income tax consequences
 to the Liquidation Trust and the holders of Claims could vary from those discussed herein
 (including the potential for an entity-level tax).

         2.       Creditor Trust Tax Reporting

         The Liquidation Trust will file annual information tax returns with the IRS as a grantor
 trust pursuant to Treasury Regulation Section 1.671-4(a) that will include information
 concerning certain items relating to the holding or disposition (or deemed disposition) of the
 assets (e.g., income, gain, loss, deduction and credit).

 C.      Federal Income Tax Consequences to Holders of Allowed Claims in Class 5

         The tax consequences of the implementation of the Plan to a holder of an Allowed Claim
 in Class 5 will depend, in part, on the origin of such holder’s Claim, whether the holder reports
 income on the accrual or cash basis, whether the holder receives consideration in more than one
 tax year of the holder, whether the holder has taken a bad debt deduction with respect to all or a
 portion of its Claim, and whether the holder is a resident of the United States. The tax
 consequences of the receipt of cash or property that is allocable to interest are discussed below in
 the section entitled “Receipt of Interest.”

         1.       Receipt of Cash and Property by Holders of Allowed Claims in Class 5

         Generally, a holder of an Allowed Claim in Class 5 will recognize gain or loss equal to
 the difference, if any, between the “amount realized” by such holder and such holder’s adjusted
 tax basis in the Allowed Claim. In general, the “amount realized” is equal to the sum of the
 Cash, the “issue price” of any debt instruments, and the fair market value of any other
 consideration received under the Plan in respect of the holder’s Allowed Claim.

      HOLDERS OF ALLOWED CLAIMS SHOULD CONSULT THEIR OWN TAX
 ADVISORS CONCERNING THE RECOGNITION OF GAIN OR LOSS, FOR FEDERAL
 INCOME TAX PURPOSES, ON THE SATISFACTION OF THEIR ALLOWED CLAIMS.

         2.       Receipt of Interest

         Pursuant to the Plan (and except as set forth in the DIP Facilities in favor of the Lender
 Group and Arcus), consideration received in respect of Allowed Claims will be allocated first to
 the principal amount of such Allowed Claims, with any excess allocated to accrued but unpaid
 interest. However, there is no assurance that the IRS will respect such allocation for federal
 income tax purposes. Holders of Allowed Claims not previously required to include in their
 taxable income any accrued but unpaid interest on such Allowed Claims may be treated as
 receiving taxable interest, to the extent of any consideration they receive under the Plan that is
 allocable to such accrued but unpaid interest. Holders previously required to include in their
 taxable income any accrued but unpaid interest on an Allowed Claim may be entitled to


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 recognize a deductible loss, to the extent that such accrued but unpaid interest is not satisfied
 under the Plan.

      HOLDERS OF ALLOWED CLAIMS SHOULD CONSULT THEIR OWN TAX
 ADVISORS CONCERNING THE ALLOCATION BETWEEN PRINCIPAL AND INTEREST
 OF CONSIDERATION RECEIVED IN SATISFACTION OF THEIR ALLOWED CLAIMS
 AND THE FEDERAL INCOME TAX TREATMENT OF ACCRUED BUT UNPAID
 INTEREST.

         3.       Character of Gain or Loss

         The character of any gain or loss as capital or ordinary and, in the case of capital gain or
 loss, as short-term or long-term, will depend on a number of factors, including: (i) the nature and
 origin of the Claim (e.g., Claims arising in the ordinary course of a trade or business or made for
 investment purposes may attract differing treatment); (ii) the tax status of the holder of the
 Claim; (iii) whether the Claim is a capital asset in the hands of the holder; (iv) whether the Claim
 has been held by the holder for more than one year; (v) the extent to which the holder previously
 claimed a loss or a bad debt deduction with respect to the Claim; and (vi) the extent to which the
 holder acquired the Claim at a market discount.

       HOLDERS OF ALLOWED CLAIMS SHOULD CONSULT THEIR OWN TAX
 ADVISORS CONCERNING THE AMOUNT AND CHARACTER OF GAIN OR LOSS, IF
 ANY, TO BE RECOGNIZED BY THEM UNDER THE PLAN.

         4.       Withholding

        All distributions to holders of Allowed Claims under the Plan are subject to any
 applicable withholding, including employment tax withholding.

 D.      Federal Income Tax Consequences to Holders of Allowed Class 6, 7 and 8 Interests

        The transactions contemplated by the Plan may cause some holders of Interests in the
 Debtors to recognize income, including cancellation of indebtedness income, with no
 corresponding cash distribution.

      HOLDERS OF ALLOWED INTERESTS SHOULD CONSULT THEIR OWN TAX
 ADVISORS CONCERNING THE TAX TREATMENT RELATED TO THEIR INTERESTS
 UNDER THE PLAN.

 E.      Importance of Obtaining Professional Tax Assistance

      THE FOREGOING IS INTENDED AS A SUMMARY ONLY, AND IS NOT A
 SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX PROFESSIONAL. THE
 FEDERAL, FOREIGN, STATE AND LOCAL INCOME AND OTHER TAX
 CONSEQUENCES OF THE PLAN ARE COMPLEX AND, IN SOME CASES, UNCERTAIN.
 SUCH CONSEQUENCES MAY ALSO VARY BASED ON THE PARTICULAR
 CIRCUMSTANCES OF EACH HOLDER OF AN ALLOWED CLAIM OR MEMBERSHIP
 INTEREST.  ACCORDINGLY, EACH HOLDER OF AN ALLOWED CLAIM OR

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 MEMBERSHIP INTEREST IS STRONGLY URGED TO CONSULT WITH HIS, HER OR ITS
 OWN TAX ADVISOR CONCERNING THE FEDERAL, FOREIGN, STATE AND LOCAL
 INCOME AND OTHER TAX CONSEQUENCES UNDER THE PLAN.

       IN ACCORDANCE WITH REQUIREMENTS IMPOSED BY THE INTERNAL
 REVENUE SERVICE IN CIRCULAR 230, UNLESS EXPRESSLY STATED OTHERWISE IN
 THIS DISCLOSURE STATEMENT (INCLUDING ANY ATTACHMENTS), ANY FEDERAL
 TAX ADVICE CONTAINED IN THIS COMMUNICATION IS NOT INTENDED OR
 WRITTEN TO BE USED, AND CANNOT BE USED, FOR THE PURPOSE OF (A)
 AVOIDING PENALTIES UNDER THE TAX CODE OR (B) PROMOTING, MARKETING,
 OR RECOMMENDING TO ANOTHER PARTY ANY TRANSACTION OR OTHER
 MATTER ADDRESSED HEREIN.

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                                         CONCLUSION
         The Debtors believe the Plan is in best interest of all creditors and recommends those
 entitled to vote to accept the Plan.

 DATED: April 24, 2008                           Respectfully submitted,

                                                 Shapes/Arch Holdings L.L.C.

                                                 By:
                                                 Name:
                                                 Title:


 DATED: April 24, 2008
                                                 Shapes L.L.C.


                                                 By:
                                                 Name:
                                                 Title:


 DATED: April 24, 2008
                                                 Delair L.L.C.


                                                 By:
                                                 Name:
                                                 Title:


 DATED: April 24, 2008
                                                 Accu-Weld L.L.C.


                                                 By:
                                                 Name:
                                                 Title:

 DATED: April 24, 2008
                                                 Ultra L.L.C.


                                                 By:
                                                 Name:
                                                 Title:


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                                           EXHIBIT A

                                              Plan




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                                           EXHIBIT B

                                   Solicitation Procedures Order




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                                           EXHIBIT C

                                       Financial Projections




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                                           EXHIBIT D

                                       Liquidation Analysis




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                                          EXHIBIT D-1

                                          Schedule 4.5

                                      Environmental Claims




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                                           EXHIBIT E

                         Bid Procedures Regarding Alternative Transaction




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                                           EXHIBIT F

                                   Current Financial Information




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